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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

PHILLIP TOLBERT and THEDORE W.
BARUDIN, Personal Representative for the
Estate of Rose Sky Tolbert,

               Plaintiffs,

vs.                                                                      No. CIV 19-0830 JB/LF

GALLUP INDIAN MEDICAL CENTER;
DEPARTMENT OF HEALTH AND HUMAN
SERVICES; THE UNITED STATES OF
AMERICA; GIENIA LYNCH; JANET M.
GREENHOLZ; SAFIA RUBAII; GILBERTO
ALVAREZ-COLON; ROBERT LEACH;
TERENCE H. HAMEL and REGINA
WILLIAMS,

               Defendants.

                                 MEMORANDUM OPINION1

       THIS MATTER comes before the Court on Defendant United States’ Partial Motion to

Dismiss for Lack of Subject Matter Jurisdiction, filed August 18, 2020 (Doc. 50)(“Motion”). The

Court held a hearing on September 16, 2020. See Clerk’s Minutes at 1, filed February 22, 2021

(Doc. 58). The primary issues are: (i) whether the Court should dismiss the negligent failure-to-

transfer claim, for failure to transfer decedent Rose Sky Tolbert and her mother, Charlene Suina,

to a hospital with a neonatal intensive care unit (“NICU”), because Plaintiffs Phillip Tolbert and

Theodore W. Barudin, the personal representative for R. Tolbert’s estate (collectively, “the

Plaintiffs”), have not exhausted their administrative remedies under the Federal Tort Claims Act,


       1
         On March 23, 2021, the Court entered an Order granting in part and denying in part the
Defendant United States’ Partial Motion to Dismiss for Lack of Subject Matter Jurisdiction, filed
August 18, 2020 (Doc. 50). See Order at 1-2, filed March 18, 2021 (Doc. 64). In the Order, the
Court stated that it would “issue a Memorandum Opinion at a later date more fully detailing its
rationale for the decision.” Order at 1 n.1. This Memorandum Opinion is the promised opinion.
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28 U.S.C. § 2675(a) (“FTCA”), where the Plaintiffs’ Standard Form 95s (“SF-95s”) spend two

paragraphs discussing events before R. Tolbert’s delivery; (ii) whether the Court should dismiss

the claims of negligent hiring, credentialing, privileging, training, and supervision of medical

personnel, because the discretionary-function exception to the FTCA’s waiver of sovereign

immunity bars these claims; (iii) whether the Court should dismiss the improperly-equipped-

emergency-room claim, because the discretionary-function exception bars this claims; and

(iv) whether the Court should deny the Plaintiffs’ punitive damages and prejudgment interest

request, because 28 U.S.C. § 2674 prohibits the Court from awarding punitive damages or

prejudgment interest. The Court concludes that: (i) it will not dismiss the Plaintiffs’ allegations

regarding the Defendant United States of America’s failure to transfer the mother, Charlene Suina,

and R. Tolbert to a different hospital, because the SF-95s provide the United States with adequate

notice of the Plaintiffs’ claims and discuss in detail events that occurred before R. Tolbert’s

delivery; (ii) the Court will dismiss the negligent training claim, and dismiss in part the negligent

credentialing and privileging claims under the FTCA’s discretionary-function exception; (iii) the

Court will dismiss the emergency-room-equipment claim, because selecting emergency room

equipment involves discretionary policy decisions; and (iv) the Court will dismiss the Plaintiffs’

request for punitive damages and prejudgment interest, because 28 U.S.C. § 2674 prohibits the

Court from awarding such damages against the United States in FTCA cases, and 28 U.S.C. § 2674

is constitutional. Accordingly, the Motion is granted in part and denied in part.

                                  FACTUAL BACKGROUND

       The Court takes its facts from the Complaint, filed September 9, 2019 (Doc. 1). The Court

accepts the factual allegations as true for the purposes of the Motion. See Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Sanders v. Mountain



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Am. Fed. Credit Union, 689 F.3d 1138, 1141 (10th Cir. 2012)(concluding that a court accepts “all

facts pleaded by the non-moving party as true and grants all reasonable inferences from the

pleadings in that party’s favor”). The Court does not, however, accept as true the legal conclusions

within the Complaint. See Ashcroft v. Iqbal, 556 U.S. at 678 (“[T]he tenet that a court must accept

as true all of the allegations contained in a complaint is inapplicable to legal conclusions.”).

       1.        The Parties.

       P. Tolbert and Suina are R. Tolbert’s parents, and reside in Gallup, New Mexico. See

Complaint ¶ 36, at 7. The United States “through the Indian Health Services, does business and

operates a healthcare facility called “Gallup Indian Medical Center” (“Gallup Medical”) in Gallup,

New Mexico.” Complaint ¶ 37, at 7. “The events giving rise to this complaint occurred at Gallup

Indian Medical Center, which is part of the United States Health and Human Services Department

and the Indian Health Service located in Gallup, New Mexico on September 9-10, 2017.”

Complaint ¶ 45, at 9. R. Tolbert’s mother, Suina, had given birth to six children before giving

birth to R. Tolbert. See Complaint ¶ 2, at 1. During her previous births, Suina experienced

c-sections and placental abruption. See Complaint ¶ 3, at 2.

       Suina and Gallup Medical were aware that Suina had gestational diabetes2 and a positive


       2
           Gestational diabetes is:

               [a] diabetic condition that appears during pregnancy and usually goes away
       after the birth of the baby. Gestational diabetes is best controlled by dietary
       adjustment. Gestational diabetes can cause birth complications. One complication
       is macrosomia, in which the baby is considerably larger than normal due to large
       deposits of fat; such a baby can grow too large to be delivered through the vagina.
       Gestational diabetes also increases the risk of low blood sugar, low serum calcium
       and low serum magnesium in the baby immediately after delivery. The key to
       prevention is careful control of the mother’s blood sugar levels. If the mother
       maintains normal blood sugar levels, it is less likely that the fetus will



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anti-kell antibody.3 Complaint ¶ 2, at 1. Gallup Medical does not have a neonatal4 intensive care

unit (“NICU”), nor does it have “any qualified specialized neonatal staff to care for a premature

baby.” Complaint ¶ 3, at 2.

       2.        The Delivery.

       Suina arrived at Gallup Medical “at approximately 5:30 p.m. on September 9, 2017.”

Complaint ¶ 2, at 1. Suina was thirty-five weeks pregnant, about five weeks short of a full-term

pregnancy5 See Complaint ¶ 2, at 1. Because Suina and R. Tolbert had high heart rates, Gallup

Medical Obstetrician Dr. Gienia Lynch conducted a drug screen, which came back negative. See

Complaint ¶ 3, at 2. Dr. Lynch was unable to diagnose “the cause of the abnormal condition of

her patient,” Suina. Complaint ¶ 9, at 3. At 7:20 p.m., Suina called P. Tolbert; P. Tolbert was a

truck driver and “was driving a route out of state.” Complaint ¶ 4, at 2. Suina informed P. Tolbert



       develop . . . abnormalities.

Jay W. Marks, Medical Definition of Gestational diabetes, MedicineNet (June 3, 2021),
https://www.medicinenet.com/what_not_to_eat_when_pregnant_pictures_slideshow/article.htm

       These antibodies can cause disorders in newborns.
       4
        Neonatal means “of, relating to, or affecting the newborn and especially the human infant
during the first month after birth.” Neonatal, Merriam Webster, https://www.merriam-
webster.com/dictionary/neonatal (last visited July 26, 2021).
       5
           A typical pregnancy

       lasts for about 280 days or 40 weeks. A preterm or premature baby is delivered
       before 37 weeks of your pregnancy. . . . Late preterm infants are born between 34
       and 37 weeks. Babies born before 39 weeks have a greater chance of breathing
       problems, low blood sugar and other problems that may result in being admitted to
       a neonatal intensive care unit (NICU).

Why      is    40    Weeks   so  Important,   New     York   Department    of  Health,
https://www.health.ny.gov/community/pregnancy/why_is_40_weeks_so_important.htm   (last
visited July 20, 2021).


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during the call that she and R. Tolbert had elevated heart rates. See Complaint ¶ 4, at 2. “Dr.

Lynch came into the room at the time of the call and told the parents that an emergen[cy] cesarean

section would need to be consented to . . . .” Complaint ¶ 4, at 2. Suina consented to the

emergency cesarean section. See Complaint ¶ 4, at 2.

       From 7:20 p.m. to 10:00 p.m., Suina did not see Dr. Lynch and “became very distressed at

the lack of attention to her or the baby.” Complaint ¶ 5, at 2. Dr. Lynch then “activate[d] the c-

section team” some time after 10:09 p.m. Complaint ¶ 5, at 2. Suina went into the operating room

at 11:14 p.m. See Complaint ¶ 5, at 2. Dr. Janet Greenholz, a pediatrician, was present for

R. Tolbert’s birth. See Complaint ¶ 11, at 3. A nurse-midwife substituted for an assistant surgeon

during the delivery, because there was no assistant surgeon available. See Complaint ¶ 6, at 2-3.

R. Tolbert was delivered at 11:43 p.m. “over six hours after arrival.” Complaint ¶ 5, at 2.

       3.      Gallup Medical’s Post-Delivery Treatment of R. Tolbert and Suina and R.
               Tolbert’s Death.

       “The physicians, nurses and other Gallup Medical staff assessed, cared for, diagnosed and

treated baby Rose as if she was a full-term baby, rather than the pre-term (premature) baby of a

mother who had gestational diabetes and other complications in her pregnancy.” Complaint ¶ 10,

at 3. “Dr. Greenholz did basic post-delivery checks that, while partially appropriate for a full-term

baby, were wholly inappropriate for a pre-mature baby of a mother with gestational diabetes and

other pregnancy complications necessitating emergency c-section.” Complaint ¶ 12, at 3. “Proper

orders for lab and other studies and orders to the nurses for intensive monitoring and care for her

patient were not made by Dr. Greenholz.” Complaint ¶ 12, at 4. Following the birth, R. Tolbert’s

“cord blood” was “sent to the lab . . . for analysis,” but “was never analyzed. Complaint ¶ 12, at

3.




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       After the birth, Dr. Lynch performed surgery on Suina. See Complaint ¶ 20, at 5. Suina

had consented to a tubal ligation surgery. See Complaint ¶ 20, at 5. “Dr. Lynch destroyed the

fallopian tubes during the surgery, rather than ‘tying her tubes’ as was the understood surgery.”

Complaint ¶ 20, at 5 (no citation for quotation). “This extension of the surgery meant that the

surgery would never be reversible.” Complaint ¶ 20, at 5. “There was no consent for the extended

and irreversible surgery.” Complaint ¶ 20, at 5. “The lack of consent and the extension of the

surgery by Dr. Lynch . . . caused Phillip Tolbert and Charlene Suina” to be “incapable of ever

having a child together, now that baby Rose has died.” Complaint ¶ 20, at 5.

       R. Tolbert “was treated in every way as a normal term baby although she was not by the

nursing and other health care staff at Gallup Medical.” Complaint ¶ 14, at 4. Regina Williams, a

Register Nurse (“R.N.”), was caring for R. Tolbert, and did not “compress and expel the amniotic

fluid from her system.” Complaint ¶ 14, at 4. “There are no oxygen saturations listed for baby

Rose in her medical record.” Complaint ¶ 16, at 5. “There are no arterial blood gas readings for

baby Rose in her medical record.” Complaint ¶ 17, at 5. “There were no medications given to

baby Rose . . . .” Complaint ¶ 18, at 5. R. Tolbert’s lungs were not fully matured after the birth.

See Complaint ¶ 21, at 5.

       R. Tolbert then “was handed to her grandmother in a room to hold.” Complaint ¶ 15, at 5.

R. Tolbert’s grandmother “became terrified that suddenly” R. Tolbert “was not breathing.”

Complaint ¶ 19, at 5. R. Tolbert began “aspirating amniotic fluid” and went “into respiratory

distress at approximately 1:40 a.m.,” about two hours after the birth. Complaint ¶ 21, at 5. When

R. Tolbert’s “respirations decreased . . . initially they were ignored.” Complaint ¶ 22, at 5. A code

“was eventually called,” but “there is no code sheet for the code conducted by Gallup Medical

physicians, nurses and staff.” Complaint ¶ 24, at 6. Dr. Safia Rubaii, an Emergency Physician,



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“initiated an umbilical venous catheterization during the code event, but never checked the

catheter’s placement despite having an x-ray to review.” Complaint ¶ 25, at 6. “[T]he catheter

was wrongly placed into the artery of the umbilical cord, such that all medication delivered into

the catheter traveled to the wrong part of” R. Tolbert’s “body, and she did not receive the benefit

of the medication given during the code . . . .” Complaint ¶ 25, at 6. Dr. Robert Leach, a Doctor

of Osteopathic Medicine, then “attempted to place an endotracheal tube [(“ETT”) 6] . . . into baby

Rose, which ‘came out.’” Complaint ¶ 26, at 6 (no citation for quotation). Dr. Leach again

attempted to place the endotracheal tube, but placed ETT into R. Tolbert’s esophagus, rather than

in her trachea. See Complaint ¶ 27, at 6. “Instead of extubating[7] the ETT, which is required to

remove it from the esophagus so it may be properly placed into the trachea, the ETT was simply

pulled back by Gilberto Alvarez-Colon, M.D., a pediatrician also participating in the code.”

Complaint ¶ 28, at 6. “Simply pulling the ETT back will result in placing it higher in the



       6
           An endotracheal tube is used during endotracheal intubation, which

       is often an emergency procedure that’s performed on people who are unconscious
       or who can’t breathe on their own. EI maintains an open airway and helps prevent
       suffocation.

               In a typical EI, you’re given anesthesia. Then, a flexible plastic tube is
       placed into your trachea through your mouth to help you breathe.

               The trachea, also known as the windpipe, is a tube that carries oxygen to
       your lungs. The size of the breathing tube is matched to your age and throat size.
       The tube is kept in place by a small cuff of air that inflates around the tube after it
       is inserted.

Corinna    Underwood,      Endotracheal    Intubation,     Healthline        (Sept.    17,       2018),
https://www.healthline.com/health/endotracheal-intubation.
       7
         To extubate is “to remove a tube from a hollow organ or passageway, often from the
airway.”       Charles Patrick Davis, Extubate, MedicineNet (March 29, 2021),
https://www.medicinenet.com/extubate/definition.htm.


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esophagus, continuing to insufflate the stomach and not the lungs.” Complaint ¶ 28, at 6.

Dr. Leach then left to view R. Tolbert’s chest x-rays. See Complaint ¶ 29, at 7. Consequently,

R. Tolbert “was never properly ventilated following her respiratory distress.” Complaint ¶ 30, at

7. Further, Dr. Hamel, “the radiologist who was responsible for timely informing the code team

of the critical finding of misplacement of the umbilical catheter and the ETT.” Complaint ¶ 32, at

7. “The nurses involved in the code failed to properly or accurately monitor or otherwise care for

baby Rose during the code event.” Complaint ¶ 31, at 7. R. Tolbert “became hypoxic[8] which

progressed to anoxic brain injury,9 organ failure, and death.” Complaint ¶ 34, at 7. R. Tolbert was

pronounced dead at 2:31 a.m. on September 10, 2018. See Complaint ¶ 33, at 7. “On or about

February 6, 2019 . . . the claims set forth herein . . . were received by Indian Health Services, a

division of the United States of America Department of Health and Human Services . . . .”

Complaint ¶ 47, at 9. The Indian Health Services did not “respond with a denial of this claim on



       8
         “Hypoxia is a condition or state in which the supply of oxygen is insufficient for normal
life functions.” Charles Patrick Davis, Hypoxia and Hypoxemia (Low Blood Oxygen),
MedicineNet                         (March                         1,                        2021),
https://www.medicinenet.com/hypoxia_and_hypoxemia/article.htm.
       9
           Anoxia

       [O]ccurs when the brain is deprived of oxygen. It’s often used interchangeably
       with hypoxia, although hypoxia refers to a partial loss of oxygen and happens first,
       typically leading to anoxia or a total lack of oxygen.

       ....

       Cells in the brain are sensitive and easily damaged. A lack of oxygen starves the
       brain and prevents biochemical processes that allow your brain, heart, and kidneys
       to function. Anoxia can result in coma, seizures, and brain death.

Dan Brennan, What Are the Signs and Symptoms of Anoxia?, MedicineNet (Dec. 10, 2020),
https://www.medicinenet.com/what_are_the_signs_and_symptoms_of_anoxia/article.htm


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or before August 6, 2019 which is expiration of the six-month stay for suit . . . .” Complaint ¶ 47,

at 9.

                               PROCEDURAL BACKGROUND

        The Plaintiffs filed a Complaint for R. Tolbert’s wrongful death. See Complaint ¶ 1, at 1.

The United States asks the Court to dismiss some of the Complaint’s claims under the FTCA. See

Motion at 1-2. The Plaintiffs oppose the United States’ Motion. See Plaintiffs’ Response in

Opposition to Defendant’s Partial Motion to Dismiss for Lack of Subject Matter Jurisdiction at 1,

filed September 1, 2020 (Doc. 53)(“Response”).

        1.     The Complaint.

        The Complaint does not divide its claims into Counts. See Complaint ¶¶ 1-58, at 1-12.

The Complaint notes that the “action arises under the current state of the Federal Tort Claims Act,

Title 28, United States Code, Section 1346(b).” Complaint ¶ 46, at 9. The Plaintiffs “assert

negligent credentialing and privileging of Defendant physicians.” Complaint ¶ 52, at 10. The

Plaintiffs ask for punitive damages and insist that the “the Federal Tort Claim Act violates the

Equal Protection Clause of the 14th Amendment to the United States Constitution.” Complaint

¶¶ 53-55, at 10-11. The Plaintiffs also allege that damages caps in the New Mexico Medical

Malpractice Act, N.M.S.A. § 41-5-1, are unconstitutional. See Complaint ¶¶ 56-58, at 11-12. The

Plaintiffs ask the Court “for Judgment against Defendants for reasonable compensatory damages,

in an amount to be ascertained at trial, pre- and post-judgment interest, and for such other and

further relief as this court deems appropriate.” Complaint ¶ 58, at 12.

        2.    The Motion.

        In the Motion, the Defendant United States of America asks the Court:

        to dismiss (1) the claim of negligent failure to transfer Plaintiff Charlene Suina to



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        another medical facility; (2) the claims of negligent hiring, credentialing,
        privileging, training, and supervision of the medical personnel involved in the care
        of Plaintiff Suina and her daughter, Rose Sky Tolbert (“Baby Tolbert”); (3) the
        claim of an improperly equipped emergency room; and (4) the request for punitive
        damages and prejudgment interest.

Motion at 1-2.

        The United States first argues that the Plaintiffs have not exhausted their administrative

remedies “with respect to their claim of negligent failure to transfer Plaintiff Suina to another

facility.” Motion at 9. The United States contends that the Plaintiffs’ SF-95s focus on negligence

regarding “events after Plaintiff Suina’s C-Section” but do not discuss “negligence before the C-

section.” Motion at 9 (emphasis in original). Accordingly, the United States insists that the

Plaintiffs’ “administrative claims provided insufficient notice to the government of a brand-new

claim alleged in the complaint.” Motion at 11 (citing Staggs v. United States, 425 F.3d 881, 883

(10th Cir. 2005)(“Staggs”); Benally v. United States, 735 F. App’x 480, 482 (10th Cir.

2018)(“Benally”)). The United States acknowledges that the SF-95s are “extremely detailed,” but

asserts that:

        nowhere in the SF-95s did Plaintiffs mention that any actions before Baby Tolbert’s
        birth fell below the standard of care. Nor did Plaintiffs allege Plaintiff Suina should
        have been transferred to a facility with a neonatal intensive care unit to give birth.
        Instead, the facts recited in the SF-95s focus on the events that occurred after the
        C-section, including the allegedly botched tubal ligation and the failure to
        resuscitate Baby Tolbert. Moreover, all of the alleged breaches in the standard of
        care outlined in the lengthy bulleted list relate to these postnatal events, as
        evidenced by Plaintiffs’ contention that Baby Tolbert’s death resulted from
        negligence “from the moment of her birth.”

Motion at 11 (quoting Attachment A to SF-95 Re: Charlene Mary Suina, Individually, at 3, filed

August 18, 2020 (Doc. 50-2)(“Attachment to Suina SF-95”)). The United States continues that

the SF-95s’ reference to the C-section did not discuss the failure to transfer claim. See Motion at

11. Accordingly, the United States concludes that, because the Plaintiffs have not exhausted their



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failure to transfer claim, the Court should dismiss it for lack of subject matter jurisdiction. See

Motion at 12.

       The United States also argues that the Court should dismiss the Plaintiffs’ negligent hiring,

credentialing, privileging, training, and supervision claims under the FTCA’s discretionary

function exception. See Motion at 12. The United States insists that, here, no federal statute,

regulation, or policy “prescribes a course of action for an employee to file,” and, therefore, the

Plaintiffs have not met their burden “to allege a specific and mandatory duty violated by the

defendant.” Motion at 12 (citing Aragon v. United States, 146 F.3d 819, 822 (10th Cir. 1998);

Hammonds v. United States, No. CIV 16-1230, 2018 WL 1399183, at *5 (D.N.M. March 19,

2018)(Browning, J.)).

       3.       The Response.

       The Plaintiffs respond to the Motion. See Response at 1. The Plaintiffs argue that they

“met all requirements for exhausting the required administrative remedies adherent to a Federal

Tort Claims Act restricted case against a federal actor, and immunity for Defendant’s medical

negligence has been waived.” Response at 2. The Plaintiffs note that, because the United States

filed its Motion under rule 12(b)(1), the Court can consider matters outside the pleadings. See

Response at 3. The Plaintiffs admit that, although “punitive damage and pre-judgment interest are

understood to be currently without subject matter jurisdiction under the FTCA, but the issue is

raised and preserved in the Complaint.” Response at 4. The Plaintiffs argue that their SF-95s

demonstrate that they were asserting medical negligence claims and that an SF-95 need not state

legal theories. See Response at 6. The Plaintiffs emphasize that the United States “had notice of

the facts and circumstances surrounding Plaintiffs’ medical negligence claims, as set forth in

Plaintiffs’ SF-95s.” Response at 6. The Plaintiffs explain that it is evident from the SF-95s that



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the Plaintiffs’ claims relate both to the pre-delivery and to the post-delivery periods. See Response

at 8.

        Next, the Plaintiffs discuss the discretionary function exception under 28 U.S.C. § 2680(a).

See Response at 9. The Plaintiffs describe the applicable test: “First, the allegedly negligent acts

or omissions must be discretionary in nature, involving ‘an element of judgment or choice.’ United

States v. Gaubert, 499 U.S. 315, 322 (1991). Second, the government conduct must be ‘based on

considerations of public policy.’ Id. at 323.” Response at 9. Here, the Plaintiffs argue that the

discretionary function exception does not apply, because “negligent acts and omissions violated

requirements which were specific and explicitly mandated by federal law and policy.” Response

at 10. Specifically, the Plaintiffs contend that laws, regulations, and policies impose requirements

on the credentialing and privileging processes in Indian Health Facilities. See Response at 11.

The Plaintiffs insist that “Indian Health Service hospitals are required . . . to maintain credentialing

and privileging policies and procedures consistent with Medicare Conditions of Participation

(federal regulations) and meet the standards of a national accrediting organization.” Response at

13. The Plaintiffs contend that the Indian Health Manual sets out hiring and credentialing

requirements. See Response at 14-15. The Plaintiffs argue that the test’s second prong is

inapposite, because “statutes, regulations, and federal policy specifically prescribes or proscribes

the conduct at issue . . . .” Response at 16.

        Turning to their claims based upon the “failure to have required equipment in

the . . . emergency room,” the Plaintiffs contend that, although the “specific breach here is the

failure to have required equipment in the emergency room, . . . the claim itself is for the failure to

properly operate the hospital.” Response at 16. The Plaintiffs conclude by arguing that the

FTCA’s prohibition on prejudgment interest and punitive damages is “unconstitutional,” although



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they do not clarify which constitutional provision the FTCA violates. Response at 18.

       4.     The Reply.

       The United States replies to the Response. See Defendant United States’ Reply to its Partial

Motion to Dismiss for Lack of Subject Matter Jurisdiction, filed September 10, 2020 (Doc.

55)(“Reply”). The United States contends that, contrary to the Plaintiffs’ assertions, the SF-95s

“did not alert a legally trained reader that Plaintiffs would assert negligence for any acts preceding

Baby Tolbert’s delivery.” Reply at 1. The United States maintains that the SF-95 does not discuss

“that Dr. Lynch breached the standard of Care before or during the delivery.” Reply at 3. The

United States argues that, although the SF-95 alleges negligence before the delivery, “alleging

negligence with regard to one time period does not alert a legally trained reader to infer negligence

regard to a different time period.” Reply at 3-4 (citing Benally, 735 F. App’x at 486-87, and

Gallegos v. Wood, No. CIV 13-1055 JB/KBM, 2017 WL 3701866, at *21 (D.N.M. Oct. 1,

2015)(Browning, J.)). The United States therefore asks the Court to dismiss the Plaintiffs’

negligence claim “as it relates to Plaintiff Suina’s care before and during the delivery.” Reply at

5-6.

       The United States then insists that the Court should dismiss the claim that Gallup Medical

was “negligent in hiring, credentialing, privileging, training, or supervising any of its personnel”

because the “discretionary function exception bars this claim” given that Gallup Medical did not

“violate[] any mandatory and specific duties . . . .” Reply at 1. The United States admits that the

Indian Health Manual (“I.H.M.”) contains mandatory minimum qualifications for credentialing

and privileging. See Reply at 6 (citing I.H.M. § 3-1.4(C)). The United States asserts, however,

that the Plaintiffs “do not allege that any of the doctors and nurses listed in their Complaint failed

to meet any of these minimum requirements.” Reply at 6. Moreover, the United States argues



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that, “given that the Manual contemplates weighing ‘the training, experience, and qualifications

of the applicant’ against ‘the staffing, facilities, and capabilities of the facility,’ the facility still has

discretion to make hiring, credentialing, and privileging decisions.” Reply at 8 (no citation for

quotation). The United States avers that “additional discovery would not assist in determining

whether the discretionary function exception bars jurisdiction.” Reply at 10. Similarly, the United

States contends that the Plaintiffs have not shown that a mandatory duty controlled Gallup

Medical’s emergency room equipment. See Reply at 11. The United States therefore concludes

that, because the Plaintiffs “have failed to identify any mandatory statutes or regulations applicable

to the challenged conduct, the government’s decisions in equipping the GIMC emergency room

are presumptively grounded in public policy, and the discretionary function exception applies.”

Reply at 11. Last, the United States concludes that the Plaintiffs have waived their arguments

about punitive damages and prejudgment interest, because they “‘waived this issue by failing to

make any argument or cite any authority to support [an] assertion’ constitutes waiver.” Reply at

12 (quoting United States v. Hardwell, 80 F.3d 1471, 1492 (10th Cir. 1996))(alteration in Reply).

In sum, the United States

        requests an Order of this Court dismissing the following for lack of subject matter
        jurisdiction: (1) the claim of negligent failure to transfer; (2) the claims of negligent
        hiring, credentialing, privileging, training, and supervision; (3) the claim of breach
        of the standard of care in equipping the GIMC emergency room; and (4) the request
        for punitive damages and prejudgment interest.

Reply at 12.

        5.     The Hearing.

        The Court held a hearing on September 16, 2020. See Clerk’s Minutes at 1, filed

September 16, 2020 (Doc. 58). The United States began by arguing that the SF-95 focuses on

facts that happened after, rather than before or during, the delivery. See Transcript of Hearing at



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3:21-4:5 (taken Sept. 16, 2020)(Lyman), filed September 28, 2020 (Doc. 60)(“Tr.”). The United

States continued that it is asking the Court to dismiss the allegation that Suina should have been

transferred to a facility with a NICU. See Tr. at 4:12-25 (Court, Lyman). The Court responded

that the SF-95 in this case is the most detailed SF-95 that it has ever seen. See Tr. at 6:20-7:1

(Court). The United States insisted that it is not “sufficiently detailed to alert the Government that

it needs to investigate that particular claim.” Tr. at 8:10-13 (Lyman). The United States then

argued that the SF-95 emphasizes the ease of the C-Section birth. See Tr. at 11:12-22 (Lyman).

The United States noted that, “under New Mexico law, a claim of negligence doesn’t automatically

include pre-op and post-op breaches of care.” Tr. at 9:19-21 (Lyman). The United States therefore

asked the Court to hold “that there was no exhaustion as to the predelivery claim.” Tr. at 9:23-25

(Lyman).

        The Plaintiffs responded that “failure to transfer” is not a “claim”; instead, it “is an expert

opinion about what the alternatives were that were available to properly treat Charlene Suina and

deliver that baby.” Tr. at 12:16-23 (Curtis). The Plaintiffs insisted that the SF-95s and the attached

documents demonstrate that Suina had medical conditions which would make R. Tolbert’s birth

difficult. See Tr. at 13:8-18 (Curtis). The Court asked the Plaintiffs what equipment Gallup

Medical lacked that it should have had. See Tr. at 14:3-5 (Court). The Plaintiffs responded that a

NICU is necessary “for a baby at 35 weeks, for a mom with gestational diabetes.” Tr. at 14:6-14

(Curtis). The Plaintiffs continued that the United States is “clearly on notice about predelivery

issues in the SF-95.” Tr. at 16:7-9 (Curtis). The Plaintiffs insisted that their SF-95 is very detailed

and satisfies the FTCA’s exhaustion requirement. See Tr. at 17:8-13 (Curtis). The Plaintiffs

maintained that this claim is important, because “the idea of contemplating an emergency C-

section and not conducting it for almost five hours is a very serious breach of the standard of care.”



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Tr. at 19:4-6 (Curtis). The Plaintiffs explained that the SF-95 focuses more heavily on the post-

delivery period because the death occurred post-delivery, but emphasized that the Defendants were

also negligent pre-delivery. See Tr. at 20:1-11 (Curtis).

       The United States responded that it is not “required to delve into the medical records to try

to figure out what other claims might be lurking therein.” Tr. at 20:21-23 (Lyman). The United

States insisted that it “‘has no obligation to cast about in the wilderness for every possible source

of liability lurking in an administrative claim . . . .’” Tr. at 20:23-21:2 (Lyman)(quoting Benally

v. United States, No. CIV 13-604 MV/SMV, 2016 WL 3200125, at *4 (D.N.M. May 20,

2016)(Vasquez, J.), aff’d, 735 F. App’x 480 (10th Cir. 2018)). The United States continued that

the SF-95 does not describe Suina’s medical conditions and that the SF-95’s mention of “a five-

hour delay” does not provide the United States with notice about the “claim that this hospital was

inadequate for this delivery.” Tr. at 23:4-25 (Lyman). The United States suggests that, instead,

“there are numerous indications in this SF-95 that the baby was healthy.” Tr. at 24:1-4 (Lyman).

       The United States then detailed its arguments regarding the FTCA’s discretionary function

exception. See Tr. at 29:3-10 (Lyman). The United States noted that the Plaintiffs bear the burden

to demonstrate that the discretionary function exception does not apply. See Tr. at 29:14-20

(Lyman). The United States submitted that, although the Plaintiffs argue that the Defendants

violated mandatory provisions of the Indian Health Manual, the Plaintiffs do not “point to any

specific provision . . . that was actually violated.” Tr. at 30:2-7 (Lyman). Instead, the United

States observed that the Plaintiffs “just assert in a conclusory fashion that the defendants must have

breached something because they hired these doctors who killed this baby.” Tr. at 32:7-9 (Lyman).

The United States averred that, beyond the minimum requirements, “the governing body of the

hospital has the discretion to decide who to hire and who to give credentials to.” Tr. at 30:21-23



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(Lyman). The United States acknowledged that the Court has recognized a “very narrow exception

to the general rule that issues involving hiring and credentialing are discretionary.” Tr. at 31:12-

15 (Lyman). Nonetheless, the United States noted that the United States Court of Appeals for the

Tenth Circuit has held that “issues of hiring and personnel are discretionary because they involve

issues, very policy oriented issues, such as weighing economic factors, trying to increase office

diversity, trying to find a good balance of skills and experience for the position.” Tr. at 31:17-22

(Lyman). The United States next asserted that the Plaintiffs do not address the discretionary

function test’s second prong in their briefing. See Tr. at 32:23-33:3 (Lyman). The United States

argued that “decisions about what equipment to have . . . are classic discretionary functions

because they require the agency to decide how to allocate its scarce resources.” Tr. at 34:15-18

(Lyman). Regarding the Plaintiffs’ equipment claim, the United States concluded that the

Plaintiffs “haven’t carried their burden to show that this was not a discretionary function,” given

that the Plaintiffs “haven’t cited a single requirement relating to the placement or what kind of

equipment or what kind of capabilities are required in an emergency room at an Indian Health

Service Hospital . . . .” Tr. at 35:13-18 (Lyman).

       The Plaintiffs argued that their credentialing and privileging claims do not fall within the

discretionary function exception. See Tr. at 39:1-11 (Court, Curtis). The Plaintiffs admitted that

they do not have documentation to support their negligent credentialing, privileging, training, and

supervision claims. See Tr. at 42:14-43:7 (Court, Curtis). The Court observed that these claims

“are preserved by the SF-95, but there’s not really anything right at the moment,” and the Plaintiffs

agreed. Tr. at 43:8-12 (Court, Curtis). The Plaintiffs contended that they cannot “get documents




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under FOIA[10] or any other mechanism. In fact, I won’t get them in discovery, and you will see

me back again asking for them.” Tr. at 43:16-19 (Curtis). The Plaintiffs asked the Court to take

the “issue under advisement,” because the Plaintiffs were “sure that we’ll be in front of you within

the next sixty days on the defendants providing the credentialing information to me to begin with.”

Tr. at 44:21-24 (Curtis). The Plaintiffs noted that discovery would assist them in elaborating upon

their claims before the Court. See Tr. at 46:1-6 (Curtis). The Plaintiffs continued that the

discretionary function exception should not apply, because: (i) “there are mandatory requirements

under Indian Health Service for credentialing and privileging of physicians;” Tr. at 46:8-10

(Curtis); and (ii) “[i]n training and supervision there are certain things that are one hundred percent

disallowed by the law and by any policy or procedure followed at any federal institution,” Tr. at

46:18-21 (Curtis). The Plaintiffs then acknowledged that,

       if the Court makes a ruling that ROIA doesn’t apply or that the federal
       confidentiality protections for peer review or confidentiality don’t apply under the
       federal system, that would be great. . . . In lieu of even keeping the claim, that
       would be such a drastic ruling. But I don’t think that that’s what the courts have
       found in this jurisdiction or in any jurisdiction in the federal system.

Tr. at 47:12-21 (Curtis). The Plaintiffs then summarized the applicable mandatory privileging and

credentialing requirements:

       [T]here are certain . . . absolute requirements . . . that all hospitals, including
       Gallup Indian Medical Center, have to follow. They have to verify the training.
       They have to verify the medical license. They have to verify the DEA license.
       They have to have professional references. They have to. I mean, CMS has rules
       that say you cannot put a person on your staff with credentials or any privileges
       unless you do these basic things. I don’t know if that process was followed because
       I don’t have that information. And so there is no way for me to prove whether
       mandatory rules, which exist, were met.

Tr. at 49:4-14 (Curtis). Regarding the emergency room equipment, the Plaintiffs emphasized that



       10
            The Freedom of Information Act, 5 U.S.C. § 552.


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the United States “wants to make claims out of things that are not claims.” Tr. at 49:21-22 (Curtis).

The Plaintiffs insisted that the lack of an x-ray machine in the Gallup Medical emergency room is

important evidence of the Defendants’ negligence, but is not an independent claim. See Tr. at

50:5-51:16 (Curtis). The Plaintiffs emphasized that the lack of an x-ray machine required

Dr. Leach to leave R. Tolbert, who had not been ventilated properly, alone for five minutes. See

Tr. at 51:17-25 (Curtis). The Court noted that the Plaintiffs were correct “that there can be a

credentialing claim that is nondiscretionary, because we’ve seen that here in the District of New

Mexico.” Tr. at 54:14-18 (Court).

       The United States addressed the Plaintiffs’ argument that the FTCA’s prohibition on

prejudgment interest is unconstitutional. See Tr. at 60:1-9 (Lyman). The United States explained

that the Plaintiffs do not “raise a distinct argument about why they're unconstitutional, cite any

authority, cite any case law. So I believe that they have waived this argument.” Tr. at 60:6-9

(Lyman). The United States continued that it is “well established” that the applicable FTCA

provisions are constitutional. Tr. at 60:12-15 (Lyman). The Court asked the Plaintiffs whether

they were hoping to preserve their argument for appellate review, and the Plaintiffs agreed. See

Tr. at 60:24-61:2 (Court, Curtis). The Plaintiffs argued that the FTCA “prohibits accountability

for governmental actors” and “that it honestly flies in the face of democracy.” Tr. at 61:10-12

(Curtis). The Plaintiffs continued that “we would wait until the conclusion of the case to have that

discussion with the Court, and given an opportunity to, as counsel stated, have full briefing and

argument solely on . . . obviously an enormous issue . . . .” Tr. at 62:3-10 (Curtis). The United

States replied that, because the Plaintiffs could have briefed the issue fully in the Response, but

did not, they have waived the issue. See Tr. at 62:14-24 (Lyman).

       The Court describe to the parties how it would likely decide the issues:



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       I will dismiss these negligent hiring, credentialing, privileging, training, or
       supervising claims, because as a general rule they do fall into, I think, categories
       that are subject to the discretionary function exception, and I will probably find the
       FTCA to be constitutional even with its ban on punitive damages. I think Congress
       gets to make those decisions. I don't think the Constitution has a whole lot to say
       about that issue.

Tr. at 71:3-11 (Court).

       6.     The Order.

       In the Order, the Court grants in part and denies in part the Motion. See Order at 11, filed

March 23, 2021 (Doc. 117). First, the Court does not dismiss the Plaintiffs’ allegations regarding

the failure to transfer claim, because the Court concludes that the SF-95 provides the United States

with adequate notice. See Order at 2. Second, the Court dismisses the negligent training claim,

and dismisses in part the negligent credentialing and privileging claims under the FTCA’s

discretionary function exception. See Order at 2. Third, the Court dismisses the emergency room

equipment claim under the discretionary function exception. See Order at 2. Fourth, the Court

dismisses the Plaintiffs’ request for punitive damages and prejudgment interest under 28 U.S.C.

§ 2674. See Order at 2.

                               LAW REGARDING THE FTCA

       It is “axiomatic that the United States may not be sued without its consent and that the

existence of consent is a prerequisite for jurisdiction.” United States v. Mitchell, 463 U.S. 206,

212 (1983)(citing United States v. Sherwood, 312 U.S. 584, 586 (1941); 14 Charles Wright, Arthur

Miller & Edward Cooper, Federal Practice and Procedure § 3654, at 156-157 (1976)). See Garcia

v. United States, 709 F. Supp. 2d 1133, 1137 (D.N.M. 2010)(Browning, J.)(“The United States

cannot be sued without its consent. Congressional consent -- a waiver of the traditional principle

of sovereign immunity -- is a prerequisite for federal-court jurisdiction.”). The law generally




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places the burden of proving federal jurisdiction on the proponent of jurisdiction, and the party

suing the United States thus similarly bears the burden of proving that sovereign immunity has

been waived. See James v. United States, 970 F.2d at 753. See also Garcia v. United States, 709

F. Supp. 2d at 1138 (“The plaintiff bears the burden of proving that Congress has waived sovereign

immunity for all of his claims.”). The terms of the United States’ consent define the federal court’s

jurisdiction to entertain suits against the country. See United States v. Orleans, 425 U.S. at 814;

Ewell v. United States, 776 F.2d 246, 248 (10th Cir. 1985). Although a “waiver of immunity

should be neither extended nor narrowed beyond that which Congress intended,” United States v.

Kubrick, 444 U.S. 111, 117-18 (1979); see Ewell v. United States, 776 F.2d at 248, “[w]aivers of

sovereign immunity are to be read narrowly,” James v. United States, 970 F.2d at 753 (citing Engel

v. United States (Estate of Johnson), 836 F.2d 940, 943 (5th Cir. 1988); Schmidt v. King, 913 F.2d

837, 839 (10th Cir. 1990)). “A waiver of sovereign immunity ‘cannot be implied and must be

unequivocally expressed.’” United States v. Mitchell, 445 U.S. 535, 538 (1980)(quoting United

States v. King, 395 U.S. 1, 4, 89 (1969)). See United States v. Nordic Vill., Inc., 503 U.S. at 33-

34; United States v. Murdock Mach. & Eng’g Co. of Utah, 81 F.3d 922, 930 (10th Cir. 1996).

       The Tenth Circuit has emphasized that all dismissals for lack of jurisdiction, including

those for a failure to establish a waiver of sovereign immunity under the FTCA, should be without

prejudice. See Mecca v. United States, 389 F. App’x 775, 780 (10th Cir. 2010).11 It The Tenth


       11
          Mecca v. United States is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See 10th
Cir. R. 32.1(A) (“Unpublished decisions are not precedential, but may be cited for their persuasive
value.”). The Tenth Circuit has stated:

             In this circuit, unpublished orders are not binding precedent, . . . and we
       have generally determined that citation to unpublished opinions is not favored.



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Circuit has explained: “‘A longstanding line of cases from this circuit holds that where the district

court dismisses an action for lack of jurisdiction . . . the dismissal must be without prejudice.’”

Mecca v. United States, 389 F. App’x at 780 (quoting Brereton v. Bountiful City Corp., 434 F.3d

1213, 1216 (10th Cir. 2006)). The Tenth Circuit held in Mecca v. United States that the district

court improperly dismissed with prejudice the plaintiff’s FTCA claims after it concluded that it

lacked jurisdiction over those claims. See 389 F. App’x at 780-81 (“Here, because the district

court found itself without jurisdiction over the FTCA claims, dismissal should have been entered

without prejudice, even if the court deemed further amendment futile. We therefore remand with

instructions to enter dismissal of these claims without prejudice.”).

       In 1948, Congress enacted the FTCA, which waives the United States’ sovereign immunity

for some tort actions against the United States seeking money damages. See 28 U.S.C. § 1346(b).

See also Fed. Deposit Ins. v. Meyer, 510 U.S. 471, 475 (1994)(discussing the history of the FTCA);

Warren v. United States, 244 F. Supp. 3d 1173, 1212 (D.N.M. 2017)(Browning, J.); Romanach v.

United States, 579 F. Supp. 1017, 1019 (D.P.R. 1984)(Laffitte, J.). In enacting the FTCA,

Congress waived the United States’ sovereign immunity as to

       claims against the United States, for money damages accruing on and after January
       1, 1945, for injury or loss of property, or personal injury or death caused by the
       negligent or wrongful act or omission of any employee of the Government while
       acting within the scope of his office or employment, under circumstances where the
       United States, if a private person, would be held liable to the claimant in accordance


       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its disposition,
       we allow a citation to that decision.

United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005). The Court finds that Mecca v.
United States, 389 F. App’x 775, 780 (10th Cir. 2010), and the other unpublished opinions cited
herein, all have persuasive value with respect to material issues and will assist the Court in its
disposition of this Memorandum Opinion.



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         with the law of the place where the act or omission occurred.

28 U.S.C. § 1346(b). “The FTCA’s waiver of sovereign immunity is limited, however.” Cortez

v. EEOC, 585 F. Supp. 2d 1273, 1284 (D.N.M. 2007)(Browning, J.). “If the claim does not fall

within the FTCA’s express provisions, or if it falls within one of its exceptions, the claim is not

cognizable under the FTCA, and the court must deny relief.” Cortez v. EEOC, 585 F. Supp. 2d at

1284 (citing Williams v. United States, 50 F.3d at 304-05). Moreover, the only proper party in an

action under the FTCA is the United States. See 28 U.S.C. § 2679(a); Romanach v. United States,

579 F. Supp. at 1018 n.1 (holding that no suit under the FTCA may lie against any agency of the

United     States   eo   nomine);   Painter   v.   FBI,   537    F. Supp. 232,   236    (N.D.   Ga.

1982)(Forrester, J.)(holding that “[t]he FBI may not be sued eo nomine”).

         Even when the FTCA waives the United States’ sovereign immunity, the United States is

liable for FTCA claims, if at all, only “in the same manner and to the same extent as a private

individual under like circumstances.” 28 U.S.C. § 2674. “The Tort Claims Act was designed

primarily to remove the sovereign immunity of the United States from suits in tort and, with certain

specific exceptions, to render the Government liable in tort as a private individual would be under

like circumstances.” Richards v. United States, 369 U.S. 1, 6 (1962). The FTCA leaves untouched

the states’ laws that might apply to the United States once Congress removes that immunity. See

Richards v. United States, 369 U.S. at 6-7. The Supreme Court of the United States of America

has noted:

         Rather, [the FTCA] was designed to build upon the legal relationships formulated
         and characterized by the States, and, to that extent, the statutory scheme is
         exemplary of the generally interstitial character of federal law. If Congress had
         meant to alter or supplant the legal relationships developed by the States, it could
         specifically have done so to further the limited objectives of the Tort Claims Act.

Richards v. United States, 369 U.S. at 6-7. Accordingly, “the United States is placed in the same



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position as a private individual by rendering the United States liable for the tortious conduct of its

employees if such conduct is actionable in the state in which the United States’ action or inaction

occurred.” Cortez v. EEOC, 585 F. Supp. 2d at 1284. See Garcia v. United States, No. CIV 08-

0295 JB/WDS, 2010 WL 2977611, at *18 (D.N.M. June 15, 2010)(Browning, J.)(“The law of the

place where the alleged negligent conduct took place determines the scope of employment under

the FTCA.”)(citing 28 U.S.C. § 1346(b)). See Richards v. United States, 369 U.S. at 9; Williams

v. United States, 350 U.S. 857, 857 (1955); Henderson v. United States, 429 F.2d 588, 590 (10th

Cir. 1970).

       The United States’ liability is coextensive with that of private individuals under the

respective states’ law, even if comparable government actors or public entities would have

additional defenses or additional obligations under that state’s law. See United States v. Olson,

546 U.S. 43, 44-47 (2005); In re FEMA Trailer Formaldehyde Prod. Liab. Litig. (Miss. Plaintiffs),

668 F.3d 281, 288 (5th Cir. 2012)(“Because the federal government could never be exactly like a

private actor, a court’s job in applying the standard is to find the most reasonable analogy. Inherent

differences between the government and a private person cannot be allowed to disrupt this

analysis.”)(citing LaBarge v. Cty. of Mariposa, 798 F.2d 364, 366-69 (9th Cir. 1986); United States

v. Olson, 546 U.S. at 47)); DeJesus v. U.S. Dep’t of Veterans Affairs, 479 F.3d 271, 283 n.9 (3d

Cir. 2007)(“Under the FTCA, the federal government can only be held liable for breaches of duties

imposed on private, rather than state, parties.”); Ewell v. United States, 776 F.2d at 248-49; Cox

v. United States, 881 F.2d 893, 895 (10th Cir. 1989)(stating that “[t]his and other courts have

applied the same rationale in holding that the United States may invoke the protection of a [private]

recreational use statute”); Proud v. United States, 723 F.2d 705, 706 (9th Cir. 1984)(“But

appellants overlook the fact that in enacting the FTCA, Congress -- not the Hawaii Legislature -



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- determined the tort liability of the United States. And the FTCA specifically provides that the

federal government’s tort liability is co-extensive with that of a private individual under state

law.”). The Tenth Circuit reasoned in Ewell v. United States:

               The main goal of the FTCA was to waive sovereign immunity so that the
       federal government could be sued as if it were a private person for ordinary torts.
       Congress was primarily concerned with allowing a remedy where none had been
       allowed. There is no evidence that Congress was concerned with the prospect that
       immunities created solely for private persons would shield the United States from
       suit. The Supreme Court, in United States v. Muniz, 374 U.S. 150 . . . (1963),
       considered whether it is appropriate to apply immunities created by state law to the
       United States when it is sued under the FTCA. The Court was concerned with state
       laws that immunized prison officials from suits by prisoners and concluded that it
       is “improper to limit suits by federal prisoners because of restrictive state rules of
       immunity.” 374 U.S. at 164 . . . . The immunity under consideration in that case
       applied to state, county and municipal prison officials. Noting its decision in Indian
       Towing Co. v. United States, 350 U.S. [61,] 65 [(1955)] . . . wherein the Court
       determined that federal liability had to be determined as if it were a private person
       and not as if it were a municipal corporation, it concluded that state law immunity
       applicable to state, county and municipal prison officials would not be applicable
       to a private person and, therefore, not applicable to the federal government in a suit
       under the FTCA.

               Thus, while immunities afforded state, county and municipal employees are
       not applicable to the federal government when sued under the FTCA, immunities
       created by state law which are available to private persons will immunize the
       federal government because it is liable only as a private individual under like
       circumstances. It is evident, therefore, that the Utah district court was correct in
       granting the motion for summary judgment.

Ewell v. United States, 776 F.2d at 249.

       The FTCA “does not apply where the claimed negligence arises out of the failure of the

United States to carry out a [federal] statutory duty in the conduct of its own affairs.” United States

v. Agronics Inc., 164 F.3d 1343, 1345 (10th Cir. 1999). The Tenth Circuit has recognized that

“[o]ther courts invoke the same rule by the shorthand expressions of immune ‘quasi-legislative’

or ‘quasi-judicial’ action.” United States v. Agronics Inc., 164 F.3d at 1345. Thus, for example,

courts have rejected FTCA claims premised upon such administrative/regulatory acts or omissions



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as: (i) the Federal Aviation Administration’s failure to take enforcement action against an entity

not complying with federal laws and rules; (ii) the Agriculture Department’s failure to prohibit the

exportation of disease-exposed cattle; and (iii) various agencies’ noncompliance with proper

rulemaking procedures. See United States v. Agronics Inc., 164 F.3d at 1346 (collecting cases).

       The Court examined the exceptions to the FTCA’s waiver of sovereign immunity in Coffey

v. United States, 906 F. Supp. 2d at 1157. In that case, a plaintiff brought a wrongful death and

negligence action against the United States Bureau of Indian Affairs (“BIA”) based on its decision

to contract with a county detention center. See 906 F. Supp. 2d at 1121. The United States argued

against liability on the grounds that the detention center was an independent contractor and that

the United States’ decision to contract with it fell within the FTCA’s discretionary-function

exemption. See 906 F. Supp. 2d at 1121. The Court agreed on both points. See 906 F. Supp. 2d

at 1121. It explained that the BIA’s decision to contract with the detention center was “a matter

of the BIA’s judgment and choice, which is susceptible to policy analysis,” and thus protected

under the discretionary function exemption. 906 F. Supp. 2d at 1157. It added that the United

States “is liable under the FTCA for the actions of its employees only,” thereby prohibiting liability

for the detention center’s actions. 906 F. Supp. 2d at 1164.

                          LAW REGARDING PUNITIVE DAMAGES

       A chronology of the Supreme Court’s and the United States Court of Appeals for the Tenth

Circuit’s caselaw on the constitutional limitations on punitive damages reveals an increasingly

restrictive view of punitive damages awards that greatly exceed compensatory damages. The

Court cannot, as a district court that must faithfully follow controlling constitutional cases, say that

the Supreme Court has replaced the guideposts in BMW of North America, Inc. v. Gore, 517 U.S.

559 (1996), for constitutional analysis with the bright-line test in Exxon Shipping Co. v. Baker,



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554 U.S. 471 (2008), which is now used in maritime cases, but even the Supreme Court’s opinion

in State Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S. 408 (2003), states that

“[w]hen compensatory damages are substantial, then a lesser ratio [of punitive to compensatory],

perhaps only equal to compensatory damages, can reach the outermost limit of the due process

guarantee.” 538 U.S. at 425 (emphasis added). Coupled with the analysis of Exxon Shipping Co.

v. Baker, which remains instructive, even if not controlling in constitutional cases, it may be

difficult to justify under the Due Process Clause more than a one to one ratio in cases involving

substantial compensatory, purely economic damages.

       1.      The Caselaw from the Supreme Court and the Tenth Circuit Concerning
               Punitive Damages.

       In Browning-Ferris Industries of Vermont, Inc. v. Kelco Disposal, Inc., 492 U.S. 257, 262

(1989), the Supreme Court held that the Excessive Fines Clause of the Eighth Amendment to the

Constitution does not apply to a punitive damages award in a civil case between private parties.

See 492 U.S. at 262 (noting that “our cases long have understood [the Eighth Amendment] to apply

primarily, and perhaps exclusively, to criminal prosecutions and punishments.”). The Supreme

Court held that,

       even if we were prepared to extend the scope of the Excessive Fines Clause beyond
       the context where the Framers clearly intended it to apply, we would not be
       persuaded to do so with respect to cases of punitive damages awards in private civil
       cases, because they are too far afield from the concerns that animate the Eighth
       Amendment.

492 U.S. at 275. Although it ultimately declined to review the punitive damages award in

Browning-Ferris Industries of Vermont, Inc. v. Kelco Disposal, Inc. under the Due Process Clause

of the Fourteenth Amendment to the Constitution, the Supreme Court nonetheless noted: “There

is some authority in our opinions for the view that the Due Process Clause places outer limits on




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the size of a civil damages award made pursuant to a statutory scheme.” Browning-Ferris Indus.

of Vt., Inc. v. Kelco Disposal, Inc., 492 U.S. at 277. Although only five justices joined in all parts

of the majority opinion in Browning-Ferris Industries of Vermont, Inc. v. Kelco Disposal, Inc., all

nine justices concurred that the Due Process Clause might be used in future cases to limit punitive

damages awards. See Browning-Ferris Indus. of Vt., Inc. v. Kelco Disposal, Inc., 492 U.S. at 280-

282 (Brennan, J., concurring in part, joined by Marshall, J.)(“I join the Court’s opinion on the

understanding that it leaves the door open for a holding that the Due Process Clause constrains the

imposition of punitive damages in civil cases brought by private parties.”); Browning-Ferris Indus.

of Vt., Inc. v. Kelco Disposal, Inc., 492 U.S. at 282-283 (O’Connor, J., concurring in part, joined

by Stevens, J.)(“[N]othing in the Court’s opinion forecloses a due process challenge to awards of

punitive damages or the method by which they are imposed . . . .”). In Pacific Mutual Life

Insurance Co. v. Haslip, 499 U.S. 1 (1991), the Supreme Court confronted the questions whether

and to what extent the Due Process Clause might limit punitive damages awards in civil cases

between private litigants. See 499 U.S. at 15. The Supreme Court held:

       One must concede that unlimited jury discretion -- or unlimited judicial discretion
       for that matter -- in the fixing of punitive damages may invite extreme results that
       jar one’s constitutional sensibilities. We need not, and indeed we cannot, draw a
       mathematical bright line between the constitutionally acceptable and the
       constitutionally unacceptable that would fit every case. We can say, however, that
       general concerns of reasonableness and adequate guidance from the court when the
       case is tried to a jury properly enter into the constitutional calculus. With these
       concerns in mind, we review the constitutionality of the punitive damages awarded
       in this case.

499 U.S. at 18-19 (internal citations omitted). The underlying facts of Pacific Mutual Life

Insurance Co. v. Haslip centered on a life insurance agent for Pacific Mutual Insurance Company

who sold life insurance to a number of employees of an Alabama municipality. See 499 U.S. at 4.

Although the insureds’ employer paid the insureds’ premiums to the insurance agent, he



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misappropriated most of the funds and failed to forward notices of lapsed coverage to the insureds.

See 499 U.S. at 5. The insureds sued both the insurance agent and Pacific Mutual Insurance

Company, and the jury awarded $1,040,000.00 in total damages to plaintiff Cleopatra Haslip,

including $4,000.00 in out-of-pocket expenditures and compensatory damages of $200,000.00.

See 499 U.S. at 6 n.2. Recognizing that the district court had adequately instructed the jury and

that the appellate courts had properly analyzed the verdict for excessiveness, the Supreme Court

ultimately held that the punitive damages award was constitutional. See 499 U.S. at 19-23.

Specifically, the Supreme Court found:

       We are aware that the punitive damages award in this case is more than 4 times the
       amount of compensatory damages, is more than 200 times the out-of-pocket
       expenses of respondent Haslip, and, of course, is much in excess of the fine that
       could be imposed for insurance fraud under Ala. Code §§ 13A-5-11 and
       13A-5-12(a) (1982), and Ala. Code §§ 27-1-12, 27-12-17, and 27-12-23 (1986).
       Imprisonment, however, could also be required of an individual in the criminal
       context. While the monetary comparisons are wide and, indeed, may be close to
       the line, the award here did not lack objective criteria. We conclude, after careful
       consideration, that in this case it does not cross the line into the area of
       constitutional impropriety. Accordingly, Pacific Mutual’s due process challenge
       must be, and is, rejected.

499 U.S. at 23-24.

       The Supreme Court affirmed a punitive damage award of ten million dollars in its next

punitive damages case. See TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. 443, 446 (1993).

The jury in TXO Production Corp. v. Alliance Resources Corp. awarded compensatory damages

of only $19,000.00. See TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. at 446. In the plurality

opinion, Justice Stevens, joined by Chief Justice Rehnquist and Justice Blackmun, emphasized

that the potential harm from the defendant’s conduct went beyond the damage that actually

occurred: “It is appropriate to consider the magnitude of the potential harm that the defendant’s

conduct would have caused to its intended victim if the wrongful plan had succeeded, as well as



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the possible harm to the other victims that might have resulted if similar future behavior were not

deterred.” TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. at 460-61 (emphasis original). The

defendant, TXO Production Corp., was a large oil and gas company conducting business in twenty-

five states, whereas the plaintiff, Alliance Resource Corp., was a smaller company that owned

mineral rights in a tract of land that TXO Production considered potentially profitable. See 509

U.S. at 447. TXO Production made a deal with Alliance Resource to acquire its interest, subject

to a provision that Alliance Resource would return the consideration TXO Production paid if TXO

Production’s attorneys found that Alliance Resource’s title had failed. See 509 U.S. at 447-48.

Knowing that Alliance Resource’s title was valid, TXO Production attempted to induce a third

party to sign an affidavit stating otherwise, according to the Alliance Resources, so that TXO

Production would not have to pay royalties on the oil-and-gas revenues generated on the property,

pursuant to the parties’ agreement. See 509 U.S. at 449. The jury was ultimately persuaded to

agree with Alliance Resource, given its award.

       Acknowledging “the shocking disparity between the punitive damage award and the

compensatory award,” Justice Stevens wrote:

       [T]he shock dissipates when one considers the potential loss to [Alliance
       Resources], in terms of reduced or eliminated royalties payments, had [TXO
       Production] succeeded in its illicit scheme. Thus, even if the actual value of the
       “potential harm” to [Alliance Resource] is not between $5 million and $8.3 million,
       but is closer to $4 million, or $2 million, or even $1 million, the disparity between
       the punitive award and the potential harm does not, in our view, “jar one’s
       constitutional sensibilities.”

509 U.S. at 462 (quoting Pacific Mut. Life Ins. Co. v. Haslip, 499 U.S. at 18). Noting Justice

O’Connor’s dissenting opinion, in which Justice White and Justice Souter joined, wherein she

asserted the “plausible argument” that the sizeable punitive damage award “is explained by the

jury’s raw, redistributionist impulses stemming from antipathy to a wealthy, out-of-state, corporate



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defendant,” TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. at 468 (Kennedy, J., concurring),

Justice Kennedy wrote:

       There is, however, another explanation for the jury verdict, one supported by the
       record and relied upon by the state courts, that persuades me that I cannot say with
       sufficient confidence that the award was unjustified or improper on this record:
       TXO acted with malice. This was not a case of negligence, strict liability, or
       respondeat superior. TXO was found to have committed, through its senior
       officers, the intentional tort of slander of title. The evidence at trial demonstrated
       that it acted, in the West Virginia Supreme Court’s words, through a “pattern and
       practice of fraud, trickery and deceit” and employed “unsavory and malicious
       practices” in the course of its business dealings with respondent. “The record
       shows that this was not an isolated incident on TXO’s part -- a mere excess of zeal
       by poorly supervised, low level employees -- but rather part of a pattern and practice
       by TXO to defraud and coerce those in positions of unequal bargaining power.”

TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. at 468-69 (Kennedy, J., concurring)(internal

citations omitted).

               a.      BMW of North America, Inc. v. Gore.

       In BMW of North America, Inc. v. Gore, the Supreme Court found for the first time that a

punitive damages award was unconstitutionally excessive and in violation of the Due Process

Clause’s substantive component. See BMW of N. Am., Inc. v. Gore, 517 U.S. at 585-86. Noting

that “[e]lementary notions of fairness enshrined in our constitutional jurisprudence dictate that a

person receive fair notice not only of the conduct that will subject him to punishment, but also of

the severity of the penalty that a State may impose,” the Supreme Court set forth three guideposts

for lower courts to consider when determining the constitutionality of a punitive damages award.

See BMW of N. Am., Inc. v. Gore, 517 U.S. at 574-75. The BMW of North America, Inc. v. Gore

guideposts are: (i) the reprehensibility of the defendant’s conduct; (ii) “the disparity between the

harm or potential harm suffered by [the plaintiff] and his punitive damages award;” and (iii) “the

difference between this remedy and the civil penalties authorized or imposed in comparable cases.”




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517 U.S. at 575.

       The plaintiff in BMW of North America, Inc. v. Gore purchased a BMW automobile and

later learned that the vehicle had been repainted after it was damaged before its delivery to the

plaintiff. See 517 U.S. at 562. The manufacturer admitted it was company policy not to disclose

such damage to new cars when the cost of repair was less than three percent of the car’s suggested

retail price. See 517 U.S. at 562. In addition to compensatory damages in the amount of four-

thousand dollars, the jury awarded punitive damages in the amount of four-million dollars. See

517 U.S. at 565. On appeal, the Supreme Court of Alabama remitted the punitive damages award

to two-million dollars. See 517 U.S. at 567.

       With regard to the first guidepost, the reprehensibility of the defendant’s conduct, the

Supreme Court held that “BMW’s conduct was not sufficiently reprehensible to warrant

imposition of a $2 million exemplary damages award.” 517 U.S. at 580. Noting that “[t]he $2

million punitive damages awarded to Dr. Gore by the Alabama Supreme Court is 500 times the

amount of his actual harm as determined by the jury,” 517 U.S. at 582, the Supreme Court found

the relationship between punitive and compensatory damages to be “breathtaking” and held that it

“must surely ‘raise a suspicious judicial eyebrow,’” 517 U.S. at 583. With regard to the third

guidepost, the Supreme Court held that “the $2 million economic sanction imposed on BMW is

substantially greater than the statutory fines available in Alabama and elsewhere for similar

malfeasance.” 517 U.S. at 584. Thus, the Supreme Court reversed and remanded the Supreme

Court of Alabama’s remitted amount. See 517 U.S. at 586.

       In the first punitive damages case the Tenth Circuit considered after BMW of North

America, Inc. v. Gore, the Tenth Circuit remitted a punitive damages award to an amount

“approximately six times the actual and potential damages plaintiffs suffered.” Cont’l Trend Res.,



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Inc. v. OXY USA, Inc., 101 F.3d 634, 643 (10th Cir. 1996)(reversing district court’s denial of

remittitur and reducing punitive damages award of $30 million to $6 million). A number of

punitive damages decisions thereafter used the six to one ratio. See United Phosphorous, Ltd. v.

Midland Fumigant, Inc., 205 F.3d 1219, 1231 (10th Cir. 2000)(affirming as constitutional a

punitive damages award of $653,217.00 where compensatory damages were $67,694.00, after

noting that adding the plaintiff’s lost profits to the compensatory damages would “bring[] the

punitive to harm ratio down to less than 6:1”); Fed. Deposit Ins. Corp. v. Hamilton, 122 F.3d 854,

862 (10th Cir. 1997)(“[W]e reverse the $1,200,000.00 punitive damage award entered by the

district court, and order a remittitur to $264,000.00, an amount representing six times the actual

damages suffered by the Hamiltons.”).

       On the other hand, also after BMW of North America, Inc. v. Gore, case law from the

Tenth Circuit suggested that it would allow punitive to compensatory damages ratios of greater

than ten to one. See United Phosphorous, Ltd. v. Midland Fumigant, Inc., 205 F.3d at 1230 (10th

Cir. 2000)(noting that “the 10:1 ratio is not a sacred line in the sand, across which no punitive

award may venture without feeling the wrath of an appellate court’s constitutional sword”).

Indeed, in some cases, the Tenth Circuit permitted punitive to compensatory ratios greater than ten

to one. See Deters v. Equifax Credit Info. Servs., Inc., 202 F.3d 1262, 1272-73 (10th Cir.

2000)(holding that punitive damages award of $295,000.00 was not constitutionally excessive

despite compensatory damages of only $5,000.00, because “both the Supreme Court and this court

acknowledge that low awards of compensatory damages may support a higher ratio if a particularly

egregious act has resulted in a small amount of economic damages”); Bielicki v. Terminix Int’l

Co., 225 F.3d 1159, 1165 (10th Cir. 2000)(affirming as constitutional the district court’s award of

punitive damages where “[t]he ratio between the punitive damages and compensatory damages



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awarded by the jury is 12 to 1”).

               b.     State Farm Mutual Automobile Insurance Co. v. Campbell.

       The Supreme Court returned to the question of the constitutional limits on punitive

damages in State Farm Mutual Automobile Insurance Co. v. Campbell, where the Supreme Court

considered a bad-faith failure to settle claim brought by an insured against its insurer. See 538

U.S. at 412. The jury at the district-court level awarded one million dollars in compensatory

damages and $145 million in punitive damages. See 538 U.S. at 412. The Supreme Court found

the question whether punitive damages were excessive to be “neither close nor difficult.” 538 U.S.

at 418. Although it found that “State Farm’s handling of the claims against the Campbells merits

no praise,” 538 U.S. at 419, the Supreme Court found that the punitive damages award -- or at least

the analysis of the first guidepost, reprehensibility -- was based more on State Farm’s “nationwide

policies than for the conduct directed toward the Campbells,” 538 U.S. at 420. The Supreme Court

declined to impose any bright-line ratio of punitive to compensatory damages under the second

guidepost, but held that “in practice, few awards exceeding a single-digit ratio between punitive

and compensatory damages, to a significant degree, will satisfy due process.” 538 U.S. at 425.

With regard to the third guidepost, the Supreme Court found: “The most relevant civil sanction

under Utah state law for the wrong done to the Campbells appears to be a $10,000 fine for an act

of fraud, an amount dwarfed by the $145 million punitive damages award.” 538 U.S. at 428

(internal citation omitted). The Supreme Court noted that, “[w]hen compensatory damages are

substantial, then a lesser ratio, perhaps only equal to compensatory damages, can reach the

outermost limit of the due process guarantee.” 538 U.S. at 425. All in all, the Supreme Court held

in State Farm Mutual Automobile Insurance Co. v. Campbell:

        An application of the Gore guideposts to the facts of this case, especially in light


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        of the substantial compensatory damages awarded (a portion of which contained a
        punitive element), likely would justify a punitive damages award at or near the
        amount of compensatory damages. The punitive award of $145 million, therefore,
        was neither reasonable nor proportionate to the wrong committed, and it was an
        irrational and arbitrary deprivation of the property of the defendant.

538 U.S. at 429.

       After the Supreme Court’s holding in State Farm Mutual Automobile Insurance Co. v.

Campbell, the Tenth Circuit affirmed an award with a ratio of twenty to one. See Haberman v.

The Hartford Ins. Grp., 443 F.3d 1257, 1263 (10th Cir. 2006)(considering a $100,000.00 punitive

damage award with actual damages of $5,000.00). Noting the Supreme Court’s admonition in

State Farm Mutual Automobile Insurance Co. v. Campbell that “few awards exceeding a single-

digit ratio between punitive and compensatory damages, to a significant degree, will satisfy due

process,” the Tenth Circuit nonetheless affirmed the twenty to one ratio. Haberman v. The

Hartford Ins. Grp., 443 F.3d at 1272.         The Tenth Circuit found it persuasive, with the

reprehensibility of the defendant’s conduct, that the compensatory damages were relatively low.

See 443 F.3d at 1272 (“We are not convinced that the low award of compensatory damages in this

case cannot support the more than single digit ratio.”).

               c.      Exxon Shipping Co. v. Baker.

       Although the binding precedential value of the Supreme Court’s most recent punitive

damages decision in Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008), is limited to maritime

cases, see Exxon Shipping Co. v. Baker, 554 U.S. at 513, some commentators view the decision

as signaling an intention to adopt a bright-line punitive to compensatory damages ratio of one to

one in all cases, see, e.g., Joni Hersch & W. Kip Viscusi, Punitive Damages by Numbers: Exxon

Shipping Co. v. Baker, 18 Sup. Ct. Econ. Rev. 259, 260 (2010)(stating that, “[g]iven the earlier

statements by the Court in State Farm v. Campbell,” and “the Court’s reliance in Exxon Shipping


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Co. v. Baker on statistical analyses of punitive damages that are not specific to maritime cases,

there is considerable likelihood that the 1:1 ceiling ultimately will have ramifications beyond

maritime cases.”); Michael L. Brooks, Uncharted Waters: The Supreme Court Plots the Course to

a Constitutional Bright-Line Restriction on Punitive Awards in Exxon Shipping Co. v. Baker, 62

Okla. L. Rev. 497, 517-18 (2010)(“[A]lthough the precise holding in Exxon may be narrow, the

case is likely to have a substantial impact on the constitutional dimension of punitive damages.”).

But see Erwin Chemerinsky, A Narrow Ruling on Punitive Damages, Trial, Sept. 2008, at 62, 63

(“[T]he Court was clear that it was dealing only with punitive damages in maritime cases. At

most, its reasoning can be applied to other areas of federal common law where punitive damages

are allowed.”).

       Exxon Shipping Co. v. Baker was a lawsuit that commercial fishermen and native Alaskans

brought for economic damages arising from the grounding of the supertanker Exxon Valdez on a

reef off the Alaskan coast, which caused millions of gallons of crude oil to spill into Prince William

Sound. See 554 U.S. at 476. After the United States Court of Appeals for the Ninth Circuit

remitted the matter twice, the punitive damages award on appeal to the Supreme Court was $2.5

billion. See Exxon Shipping Co. v. Baker, 554 U.S. at 481. Total compensatory damages in the

case were $507.5 million. See 554 U.S. at 515. The Supreme Court held that punitive damages

in maritime cases should be limited to a one to one ratio. See 554 U.S. at 513. Although it did not

decide Exxon Shipping Co. v. Baker on constitutional grounds, but rather pursuant to maritime

law, the Supreme Court held: “In State Farm, we said that a single-digit maximum is appropriate

in all but the most exceptional of cases, and ‘[w]hen compensatory damages are substantial, then

a lesser ratio, perhaps only equal to compensatory damages, can reach the outermost limit of the

due process guarantee.’” Exxon Shipping Co. v. Baker, 554 U.S. at 514-15.



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       Justice Ginsburg appears to be among those who view Exxon Shipping Co. v. Baker as a

sign of things to come in the Supreme Court’s due-process jurisprudence. In her dissent, she wrote:

       In the end, is the Court holding only that 1:1 is the maritime-law ceiling, or is it
       also signaling that any ratio higher than 1:1 will be held to exceed “the
       constitutional outer limit”? On next opportunity, will the Court rule, definitively,
       that 1:1 is the ceiling due process requires in all of the States, and for all federal
       claims?

554 U.S. at 524 (Ginsburg, J., dissenting).

       As constitutional scholar Erwin Chemerinsky has noted, the Supreme Court’s “reasoning

was less about maritime law and more about the need for predictable and consistent rules for

punitive damages awards.” Chemerinsky, A Narrow Ruling on Punitive Damages at 62. Along

these lines, the Supreme Court expressly rejected the “verbal” approach to judicial review of

punitive damages -- the approach taken in the Supreme Court’s prior punitive damages

jurisprudence -- in Exxon Shipping Co. v. Baker. Exxon Shipping Co. v. Baker, 554 U.S. at 503-

504. After reviewing examples of state-law jury instructions on punitive damages, the Supreme

Court noted:

       These examples leave us skeptical that verbal formulations, superimposed on
       general jury instructions, are the best insurance against unpredictable outliers.
       Instructions can go just so far in promoting systemic consistency when awards are
       not tied to specifically proven items of damage (the cost of medical treatment, say),
       and although judges in the States that take this approach may well produce just
       results by dint of valiant effort, our experience with attempts to produce
       consistency in the analogous business of criminal sentencing leaves us doubtful that
       anything but a quantified approach will work.

554 U.S. at 504. The Supreme Court concluded that, rather than imposing caps on punitive

damages, “the more promising alternative is to leave the effects of inflation to the jury or judge

who assesses the value of actual loss, by pegging punitive to compensatory damages using a ratio

or maximum multiple.” 554 U.S. at 506.




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       2.      Determining the Constitutional Limits on Punitive Damages Awards.

       Even in the context of a constitutional due-process analysis, the Supreme Court has

recognized the value of “pegging punitive to compensatory damages using a ratio.” Exxon

Shipping Co. v. Baker, 554 U.S. at 506. See Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. at 23

(holding that, while “the punitive damages award in this case is more than 4 times the amount of

compensatory damages” and “may be close to the line,” the award “does not cross the line into the

area of constitutional impropriety”); BMW of N. Am., Inc. v. Gore, 517 U.S. at 580-81 (adopting

as a “guidepost” the requirement that “exemplary damages must bear a ‘reasonable relationship’

to compensatory damages”). Indeed, the Supreme Court has held: “Our jurisprudence and the

principles it has now established demonstrate, however, that, in practice, few awards exceeding a

single-digit ratio between punitive and compensatory damages, to a significant degree, will satisfy

due process.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. at 425. “When compensatory

damages are substantial, then a lesser ratio, perhaps only equal to compensatory damages, can

reach the outermost limit of the due process guarantee.” State Farm Mut. Auto. Ins. Co. v.

Campbell, 538 U.S. at 425. Because the Supreme Court’s reasoning in Exxon Shipping Co. v.

Baker applies in cases outside the realm of maritime law, the Court will consider the reasoning,

along with the guideposts identified in BMW of N. Am., Inc. v. Gore, mindful that the BMW of

N. Am., Inc. v. Gore constitutional analysis controls the Court’s analysis in non-maritime cases.

Cf. Agostini v. Felton, 521 U.S. 203, 237 (1997)(“[I]f a precedent of this Court has direct

application in a case, yet appears to rest on reasons rejected in some other line of decisions, the

Court of Appeals should follow the case which directly controls, leaving to this Court the

prerogative of overruling its own decisions.” (citation omitted)).




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               a.      The First BMW of North America, Inc. v. Gore Guidepost: “Some
                       Wrongs Are More Blameworthy Than Others.”

       The reprehensibility of the Defendant’s conduct is “[p]erhaps the most important indicium

of the reasonableness of a punitive damages award.” BMW of N. Am., Inc. v. Gore, 517 U.S.

at 575. The Supreme Court has set forth five characteristics of conduct that may be relevant to the

reprehensibility guidepost: (i) whether the harm was physical versus economic; (ii) whether the

conduct evidences “an indifference to or reckless disregard of the health and safety of others”;

(iii) the financial vulnerability of the target of the conduct; (iv) whether the conduct involved

repeated action versus an isolated incident; and (v) whether “the harm was the result of intentional

malice, trickery, or deceit, or mere accident.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538

U.S. at 419. Under these factors, more reprehensible conduct, such as violence or the threat of

violence, and “trickery and deceit,” is considered more deserving of substantial punitive damage

awards. BMW of N. Am., Inc. v. Gore, 517 U.S. at 575. Where a plaintiff experiences purely

economic harm, on the other hand, a substantial punitive damage award is less justified. See BMW

of N. Am., Inc. v. Gore, 517 U.S. at 575. The Supreme Court has also noted, however, that “the

infliction of economic injury, especially when done intentionally through affirmative acts of

misconduct, or when the target is financially vulnerable, can warrant a substantial penalty.” BMW

of N. Am., Inc. v. Gore, 517 U.S. at 577. See Exxon Shipping Co. v. Baker, 554 U.S. at 494

(internal citations and quotations omitted)(recognizing that “[a]ction taken or omitted in order to

augment profit represents an enhanced degree of punishable culpability”). Likewise, “heavier

punitive awards have been thought to be justifiable when wrongdoing is hard to detect (increasing

chances of getting away with it), or when the value of the injury and the corresponding

compensatory award are small (providing low incentives to sue).” Exxon Shipping Co. v. Baker,




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554 U.S. at 494.

               b.      The Second BMW of North America, Inc. v. Gore Guidepost: Punitive
                       Damages Must Bear a Reasonable Relationship to Compensatory
                       Damages.

       “The second and perhaps most commonly cited indicium of an unreasonable or excessive

punitive damages award is its ratio to the actual harm inflicted on the plaintiff.” BMW of N. Am.,

Inc. v. Gore, 517 U.S. at 580. In the constitutional context -- as opposed to the maritime

context -- the Supreme Court has eschewed a mathematical formula. See BMW of N. Am., Inc.

v. Gore, 517 U.S. at 582 (“Of course, we have consistently rejected the notion that the

constitutional line is marked by a simple mathematical formula”). A punitive damages award of

more than 500 times the compensatory damages, however, may be too great to pass constitutional

muster. See BMW of N. Am., Inc. v. Gore, 517 U.S. at 583 (“In most cases, the ratio will be

within a constitutionally acceptable range, and remittitur will not be justified on this basis. When

the ratio is a breathtaking 500 to 1, however, the award must surely ‘raise a suspicious judicial

eyebrow.’” (internal citation omitted)). Even before Exxon Shipping Co. v. Baker, absent

exceptional circumstances, a ratio of greater than ten to one was likely to be deemed

constitutionally excessive. See BMW of N. Am., Inc. v. Gore, 517 U.S. at 581 (noting that the

difference between punitive and actual damages in TXO Prod. Corp v. Alliance Res. Corp.

“suggested that the relevant ratio was not more than 10 to 1”). Indeed, in most cases, the maximum

ratio of punitive to compensatory damages permitted by the Due Process Clause appears to be nine

to one. See State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. at 425 (“Our jurisprudence and

the principles it has now established demonstrate, however, that, in practice, few awards exceeding

a single-digit ratio between punitive and compensatory damages, to a significant degree, will

satisfy due process.”). At the same time as it appeared to uphold a nine-to-one ratio of punitive to


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compensatory damages generally, the Supreme Court in State Farm Mutual Automobile Insurance

Co. v. Campbell also noted that: “When compensatory damages are substantial, then a lesser ratio,

perhaps only equal to compensatory damages, can reach the outermost limit of the due process

guarantee.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. at 425. Previously, the Supreme

Court had affirmed a punitive damages award of “more than 4 times the amount of compensatory

damages,” although it noted that this award “may be close to the line.” Pac. Mut. Life Ins. Co. v.

Haslip, 499 U.S. at 23-24.

       The Supreme Court noted several studies of punitive damage awards in Exxon Shipping

Co. v. Baker, expressing its concern with “the stark unpredictability of punitive awards”:

       Courts of law are concerned with fairness as consistency, and evidence that the
       median ratio of punitive to compensatory awards falls within a reasonable zone, or
       that punitive awards are infrequent, fails to tell us whether the spread between high
       and low individual awards is acceptable. The available data suggest it is not. A
       recent comprehensive study of punitive damages awarded by juries in state civil
       trials found a median ratio of punitive to compensatory awards of just 0.62:1, but a
       mean ratio of 2.90:1 and a standard deviation of 13.81. Even to those of us
       unsophisticated in statistics, the thrust of these figures is clear: the spread is great,
       and the outlier cases subject defendants to punitive damages that dwarf the
       corresponding compensatories. The distribution of awards is narrower, but still
       remarkable, among punitive damages assessed by judges: the median ratio is
       0.66:1, the mean ratio is 1.60:1, and the standard deviation is 4.54. Other studies
       of some of the same data show that fully 14% of punitive awards in 2001 were
       greater than four times the compensatory damages, with 18% of punitives in the
       1990s more than trebling the compensatory damages. And a study of “financial
       injury” cases using a different data set found that 34% of the punitive awards were
       greater than three times the corresponding compensatory damages.

554 U.S. at 499-500 (citations omitted). Relying on empirical studies of punitive damages awards,

the Supreme Court determined that the median ratio for all types of cases -- ranging from those

with the least blameworthy conduct triggering punitive damages to those featuring malice -- is less

than one to one. See 554 U.S at 512 (“These studies cover cases of the most as well as the least

blameworthy conduct triggering punitive liability, from malice and avarice, down to recklessness,



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and even gross negligence in some jurisdictions. The data put the median ratio for the entire gamut

of circumstances at less than 1:1 . . . .”).

                c.      The Third BMW of North America, Inc. v. Gore Guidepost: Civil or
                        Criminal Penalties in Comparable Cases Provide Notice of Potentially
                        Significant Punitive Damages.

        “Comparing the punitive damages award and the civil or criminal penalties that could be

imposed for comparable misconduct provides a third indicium of excessiveness.” BMW of N.

Am., Inc. v. Gore, 517 U.S. at 583. While “[t]he existence of a criminal penalty does have bearing

on the seriousness with which a State views the wrongful action,” the Supreme Court has cautioned

that “[p]unitive damages are not a substitute for the criminal process, and the remote possibility of

a criminal sanction does not automatically sustain a punitive damages award.” State Farm Mutual

Automobile Insurance Co. v. Campbell, 538 U.S. at 428. Nonetheless, courts should “accord

‘substantial deference’ to legislative judgments concerning appropriate sanctions for the conduct

at issue.” Browning-Ferris Indus. of Vt., Inc. v. Kelco Disposal, Inc., 492 U.S. 257, 301

(1989)(O’Connor, J., concurring in part and dissenting in part).

                d.      All Three BMW of North America, Inc. v. Gore Guideposts Need Not
                        Be In Agreement.

        Tenth Circuit decisions suggest that all three BMW of North America, Inc. v. Gore

guideposts need not agree to support a finding that a punitive damages award is constitutionally

excessive. For example, in both Continental Trend Resources, Inc. v. OXY USA, Inc., 101 F.3d

at 641 and United Phosphorous, Ltd. v. Midland Fumigant, Inc., 205 F.3d at 1231, the Tenth

Circuit found that, while the reprehensibility and ratio guideposts both supported their ultimate

decision, the facts in those cases “d[id] not lend themselves to comparison with statutory

penalties.” Cont’l Trend Res., Inc. v. OXY USA Inc., 101 F.3d at 641. See United Phosphorous,



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Ltd. v. Midland Fumigant, Inc., 205 F.3d at 1231 (“A finding of common law fraud does not lend

itself to comparison with statutory penalties.”).

               e.      The Defendant’s Wealth is Relevant to the Determination of Punitive
                       Damages.

       Beyond the BMW of North America, Inc. v. Gore factors, the Tenth Circuit also permits

consideration of the defendant’s wealth when determining whether the punitive damages awarded

comport with the Due Process Clause. See Cont’l Trend Res., Inc. v. OXY USA, Inc., 101 F.3d

at 641. On the one hand, the Tenth Circuit acknowledged that “the Supreme Court in BMW

downplayed the defendant’s wealth as a justification for increasing punitive damages.” 101 F.3d

at 641. On the other hand, however, the Tenth Circuit found that the Supreme Court “places in

the constitutional calculus the question of the minimum level of penalty necessary to achieve the

state’s goal of deterrence.” Cont’l Trend Res., Inc. v. OXY USA, Inc., 101 F.3d at 641.12

       In Federal Deposit Insurance Corp. v. Hamilton, 122 F.3d 854 (10th Cir. 1997), the Tenth

Circuit found that the wealth of the defendant in that case, NationsBank, “cut[] the other way,”

contrasted with the BMW of North America, Inc. v. Gore guideposts. 122 F.3d at 862. The

defendant’s conduct was not significantly reprehensible given that the injury was economic and

that “it arises out of a contractual relationship where the parties can and should contractually


       12
         Thus, the Court in Continental Trend Resources, Inc. v. OXY USA, Inc. quoted BMW
of North America, Inc. v. Gore:

       “The sanction imposed in this case cannot be justified on the ground that it was
       necessary to deter future misconduct without considering whether less drastic
       remedies could be expected to achieve that goal. The fact that multimillion dollar
       penalty prompted a change in policy sheds no light on the question whether a
       lesser deterrent would have adequately protected the interests of Alabama
       consumers.”

101 F.3d at 641 (quoting quoted BMW of North America, Inc. v. Gore, 517 U.S. at 584-85).


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protect themselves by providing for explicit remedies in the event of breach.” Fed. Deposit Ins.

Corp. v. Hamilton, 122 F.3d at 862 (noting that, under these circumstances, “the permissible ratio

of punitive damages to actual damages should be relatively modest”). Also, the Tenth Circuit

found that there were not “any civil or criminal penalties applicable to the conduct engaged in by

NationsBank,” suggesting that “NationsBank was not on notice that its conduct could give rise to

substantial non-compensatory liability.” Fed. Deposit Ins. Corp. v. Hamilton, 122 F.3d at 862.

Still, a punitive to compensatory ratio of six to one was permitted after remittitur, based, in part,

on the Tenth Circuit’s consideration of the defendant’s wealth:

       Although we have been cautioned that the size of the defendant should not
       ordinarily be a very significant factor, we have also concluded that it is not
       irrelevant either. OXY, 101 F.3d at 641. NationsBank is undeniably a large
       financial institution, and the $44,000 in fraud damages cannot be expected to serve
       as much of a deterrent to any future misconduct. Hence, constitutionally, a higher
       ratio of punitive to actual damages is warranted here than would be the case if the
       base level of compensatory damages were a significantly higher figure relative to
       the size of the defendant.

Fed. Deposit Ins. Corp. v. Hamilton, 122 F.3d at 862. In Deters v. Equifax Credit Info. Servs.,

Inc., the Tenth Circuit stated:

       In assessing the reasonableness of the punitive damages award in the instant case,
       we must consider the purposes of such a remedy, namely to punish and deter. In
       this respect, the wealth and size of the defendant are relevant considerations. We
       agree with the district court that Equifax’s gross operating revenue of $1.8 billion
       in 1996 could be considered in levying a substantial punitive damages award.

202 F.3d at 1233.

               f.      Litigation Costs, Including Attorney’s Fees, Are Appropriately
                       Considered When Evaluating the Constitutionality of Punitive
                       Damages Awards.

       The Tenth Circuit has also noted that “the costs of litigation in order to vindicate rights is

an appropriate element to consider in justifying a punitive damages award.” Cont’l Trend Res.,




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Inc. v. v. OXY USA Inc., 101 F.3d at 642 (citing O’Gilvie v. Int’l Playtex, Inc., 821 F.2d 1438,

1447 (10th Cir. 1987), cert. denied, 486 U.S. 1032 (1988)). Thus, because there was evidence in

Continental Trend Resources, Inc. v. OXY USA Inc. that “OXY thought it could impose its

corporate will on plaintiffs,” and because the plaintiffs had to endure a three-week trial, a lengthy

appellate process, and significant post-trial litigation, the Tenth Circuit felt it was appropriate to

consider the likely legal costs in addition to the compensatory damages when evaluating whether

the punitive damages award was excessive. 101 F.3d at 642 (“Nothing in BMW would appear to

prohibit consideration of the cost of those legal proceedings in determining the constitutionally

permissible limits on the punitive damages award.”).

         LAW REGARDING THE DISCRETIONARY FUNCTION EXCEPTION

       The FTCA contains several exceptions to its waiver of immunity. See 28 U.S.C. § 2680.

The Supreme Court has characterized § 2680(a) as the “boundary between Congress’ willingness

to impose tort liability upon the United States and its desire to protect certain governmental

activities from exposure to suit by private individuals.” United States v. Varig Airlines, 467 U.S.

808. These exceptions must be strictly construed in the United States’ favor. See U.S. Dep’t of

Energy v. Ohio, 503 U.S. 607, 615 (1992)(“Waivers of immunity must be ‘construed strictly in

favor of the sovereign’ and not ‘enlarge[d] . . . beyond what the language requires.’” (alterations

in U.S. Dep’t of Energy v. Ohio)(first quoting McMahon v. United States, 342 U.S. 25, 27 (1951);

then quoting E. Transp. Co. v. United States, 272 U.S. 676, 686 (1927)).

       The discretionary function exception provides that the FTCA shall not apply to claims

“based upon the exercise or performance or the failure to exercise or perform a discretionary-

function or duty on the part of a federal agency or an employee of the Government, whether or not

the discretion involved be abused.”        28 U.S.C. § 2680(a).     Its application is a threshold



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jurisdictional issue in any FTCA case. See Johnson v. U.S. Dep’t of Interior, 949 F.2d 332, 335

(10th Cir. 1991). Cf. Warren v. United States, 244 F. Supp. 3d at 1233 (noting that, at the motion-

to-dismiss stage, in an FTCA case, a plaintiff “must establish more than . . . abstract negligence”

“and, instead, must also first establish that her claims are not based upon actions immunized from

liability under the FTCA’s discretionary function exception”). In Berkovitz by Berkovitz v. United

States, the Supreme Court enunciated a two-prong analysis for determining when the FTCA’s

discretionary function exception applies. See 486 U.S. 531, 536 (1988)(“Berkovitz”); Domme v.

United States, 61 F.3d at 789-90; Black Hills Aviation, Inc. v. United States, 34 F.3d 968, 972-73

(10th Cir. 1994); Kiehn v. United States, 984 F.2d 1100, 1102-03 (10th Cir. 1993). First, the acts

or omissions must be “discretionary in nature, acts that ‘involve an element of judgment or

choice.’” United States v. Gaubert, 499 U.S. at 322 (quoting Berkovitz, 486 U.S. at 536). Second,

the conduct must be “‘based on considerations of public policy.’” United States v. Gaubert, 499

U.S. at 323 (quoting Berkovitz, 486 U.S. at 537). See Garling v. U.S. Envtl. Prot. Agency, 849

F.3d 1289, 1294-95(10th Cir. 2017)(unpublished).

       An action is not discretionary where a statute, regulation, or policy mandates certain

conduct, because the employee has “no room for choice.” United States v. Gaubert, 499 U.S. 315,

324 (1991). See Garcia v. U.S. Air Force, 533 F.3d at 1176 (“Conduct is not discretionary if ‘a

federal statute, regulation, or policy specifically prescribes a course of action for an employee to

follow. In this event, the employee has no rightful option but to adhere to the directive.’” (quoting

Berkovitz, 486 U.S. at 537)). On the other hand,

       [w]here Congress has delegated the authority to an independent agency or to the
       Executive Branch to implement the general provisions of a regulatory statute and
       to issue regulations to that end, there is no doubt that planning-level decisions
       establishing programs are protected by the discretionary function exception, as is
       the promulgation of regulations by which the agencies are to carry out the



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        programs.

United States v. Gaubert, 499 U.S. at 323.

        Berkovitz’ second prong protects conduct if it was or could have been “‘based on

considerations of public policy.’” Kiehn v. United States, 984 F.2d at 1105 (quoting Berkovitz,

486 U.S. at 537). This principle is a result of the rule that the second prong requires that the

challenged conduct must be, by its nature, “susceptible to policy analysis.” United States v.

Gaubert, 499 U.S. at 325. Where agency policy allows an employee to exercise discretion, there

is a “strong presumption” that the acts authorized by the policy are grounded in public policy.

United States v. Gaubert, 499 U.S. at 324. Where a plaintiff alleges a negligent omission, it is

“irrelevant whether the [omission] was a matter of ‘deliberate choice,’ or a mere oversight,” Kiehn

v. United States, 984 F.2d at 1105 (quoting Allen v. United States, 816 F.2d 1417, 1422 n.5 (10th

Cir. 1987)), because “[t]he failure to consider some or all critical aspects of a discretionary

judgment does not make that judgment less discretionary and does not make the judgment subject

to liability,” Kiehn v. United States, 984 F.2d at 1105.

        The two-prong test in Berkovitz applies equally to all government employees, regardless

of their rank or position: “[I]t is the nature of the conduct, rather than the status of the actor, that

governs whether the discretionary function exception applies in a given case.” United States v.

Varig Airlines, 467 U.S. at 813. See United States v. Gaubert, 499 U.S. at 325 (“Discretionary

conduct is not confined to the policy or planning level.”); United States v. Varig Airlines, 467 U.S.

at 811 (“‘Where there is room for policy judgment and decision there is discretion. It necessarily

follows that acts of subordinates in carrying out the operations of government in accordance with

official directions cannot be actionable.’”)(quoting Dalehite v. United States, 346 U.S. 15, 35-36

(1953)).



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       In applying the Berkovitz analysis, the question of negligence is irrelevant: “When the

government performs a discretionary function, the exception to the FTCA applies regardless of

‘whether or not the discretion involved be abused.’” Redman v. United States, 934 F.2d 1151,

1157 (10th Cir. 1991)(quoting 28 U.S.C. § 2680(a)). A court must decide first whether the

discretionary function exception shields the “government’s conduct” before the court addresses

the government’s duties under the common law. Domme v. United States, 61 F.3d at 789. The

Tenth Circuit has explained:

               Considering state tort law as a limit on the federal government’s discretion
       at the jurisdictional stage impermissibly conflates the merits of plaintiffs’ claims
       with the question whether the United States has conferred jurisdiction on the courts
       to hear those claims in the first place. Indeed, the only conceivable way plaintiffs
       might succeed on their theory is by pointing to a federal policy incorporating state
       tort law as a limit on the discretion of federal employees with the meaning of the
       FTCA.

Sydnes v. United States, 523 F.3d 1179, 1184 (10th Cir. 2008)(emphasis in original).

                                           ANALYSIS

       First, the Court will not dismiss the Plaintiffs’ allegations regarding the United States’

failure to transfer Suina and R. Tolbert to a different hospital, because the Plaintiffs’ SF-95s

provided the United States with adequate notice of the Plaintiffs’ claims. See 28 U.S.C. § 2675(a);

Attachment A to SF-95 Re: Phillip Tolbert, Individually at 3, filed August 18, 2020 (Doc. 50-

3)(“Attachment to Tolbert SF-95”); Attachment A to SF 95 Re: Charlene Mary Suina and Phillip

Tolbert, as Personal Representatives for the Estate of Rose Tolbert at 3, filed August 18, 2020

(Doc. 50-4)(“Attachment to Estate SF-95”);13 Tr. at 21:21-22:6 (Curtis). Second, the Court will

dismiss the negligent training claim, and dismiss in part the negligent credentialing and privileging


       13
         The two SF-95s contain identical descriptions of the events at issue. See Attachment to
Tolbert SF-95 at 3; Attachment to Estate SF-95 at 3.


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claims under the discretionary function exception. Third, the Court will dismiss the emergency

room equipment claim, because selecting emergency room equipment involves discretionary

policy decisions. Fourth, the Court will dismiss the Plaintiffs’ request for punitive damages and

prejudgment interest, because 28 U.S.C. § 2674 prohibits the Court from awarding such damages

against the United States in FTCA cases.

I.     THE PLAINTIFFS’ SF-95S PROVIDE SUFFICIENT NOTICE TO THE UNITED
       STATES OF THE PLAINTIFFS’ CLAIMS.

       The Court has jurisdiction over this case, because the Plaintiffs have exhausted their

administrative remedies. See 28 U.S.C. § 2675(a); Attachment to Tolbert SF-95 at 3; Attachment

to Estate SF-95 at 3; Tr. at 21:21-22:6 (Curtis). The FTCA requires prospective plaintiffs to “have

first presented the claim to the appropriate Federal agency and his claim shall have been finally

denied by the agency.” 28 U.S.C. § 2675(a). An SF-95 “claim should give notice of the

underlying facts and circumstances ‘rather than the exact grounds upon which [the claimant] seeks

to hold the government liable.’”      Staggs, 425 F.3d at 884 (10th Cir. 2005)(alterations in

original)(quoting Trentadue ex rel. Aguilar v. United States, 397 F.3d 840, 853 (10th Cir. 2005)).

The SF-95 need only contain “(1) a written statement sufficiently describing the injury to enable

the agency to begin its own investigation, and (2) a sum certain damages claim.” Cizek v. United

States, 953 F.2d 1232, 1233 (10th Cir. 1992). Here, because the SF-95 provides a detailed

summary of the events that the Plaintiffs allege led to R. Tolbert’s death, and because the SF-95

asks for $15,000,000.00, the SF-95 satisfies the FTCA’s administrative exhaustion requirement.

        The United States insists that the Plaintiffs’ “administrative claims did not alert a legally

trained reader that Plaintiffs would assert negligence for any acts preceding Baby Tolbert’s

delivery.” Reply at 1. The United States therefore asks the Court to dismiss “the claim of negligent




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failure to transfer . . . .” Motion at 1. The Plaintiffs’ SF-95s both state, however, that the

decedent’s mother, “Charlene Mary Suina went to Gallup Indian Medical Center at 5:30 p.m.”

Tolbert SF-95 Attachment at 3; Estate SF-95 Attachment at 3 (same). The SF-95s provide the

following detailed discussion of the pre-delivery period:

              Charlene Mary Suina and Philip Tolbert were thirty-five weeks pregnant
       with baby Rose Sky Tolbert on September 9, 2017. Charlene Mary Suina went to
       Gallup Indian Medical Center at 5:30 p.m. that evening because she didn’t feel well
       and wanted to be checked out. At 7:06 p.m., Ms. Suina was admitted to Labor and
       Delivery. She told the providers that she “just doesn’t feel right.” Because of fetal
       tachycardia and abdominal pain, the possibility of an emergent delivery was
       discussed. Ms. Suina gave consent for a cesarean section and had previously
       consented to a bilateral tubal ligation post-delivery.

               Over 5 hours later, at 11:09 p.m., Ms. Suina is seen by Dr. Gienia Lynch,
       who notes that Ms. Suina was still in pain. At 11:32 p.m., Dr. Lynch notes
       indications for a cesarean section. Ms. Suina is taken to the operating room.
       MR. Tolbert is reached while working driving his semi-truck. He heads for Gallup.

Tolbert SF-95 Attachment at 3; Estate SF-95 Attachment at 3 (same). There are several facts in

this portion of the SF-95 that indicate that the pre-delivery period would be at issue in this

litigation. First, the SF-95 states that Suina was “thirty-five weeks pregnant.” Tolbert SF-95

Attachment at 3. Babies typically are born after the mother has been pregnant for forty weeks;

R. Tolbert, therefore, was five weeks premature. See Why is 40 Weeks so Important, New York

Department                                            of                                         Health,

https://www.health.ny.gov/community/pregnancy/why_is_40_weeks_so_important.htm                      (last

visited July 20, 2021); Tolbert SF-95 Attachment at 3. Additionally, Suina told persons at Gallup

Medical that she “didn’t feel right” and was experiencing abdominal pain. See Tolbert SF-95

Attachment at 3. The SF-95 also discusses R. Tolbert’s fetal tachycardia.14 See Tolbert SF-95



       14
            Fetal tachycardia is “an abnormal increase in the fetal heart rate. It is variably defined as



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Attachment at 3.    In addition, the SF-95 notes that it took around seven hours from when Suina

arrived at the hospital complaining of pain to when she was taken to the operating room for a

caesarean section. See Tolbert SF-95 Attachment at 3. In sum, the SF-95’s detailed discussion

of the predelivery period, including: (i) its indication that R. Tolbert was a premature baby; (ii) the

length of time it took from when Suina arrived at the hospital to when she received a caesarean

section; (iii) R. Tolbert’s elevated heart rate; and (iv) Suina’s complaints of abdominal pain and

that she did not feel right, was enough to satisfy the “FTCA’s eminently pragmatic written, claim-

presentation requirement . . . that the written statement provide due notice that the agency should

investigate the possibility of particular (potentially tortious) conduct” during the pre-delivery

period. Benally, 735 F. App’x at 485 (emphasis in original). See Staggs, 425 F.3d at 884; Tolbert

SF-95 Attachment at 4; Estate SF-95 Attachment at 4. “[T]he long-held understanding that courts

should liberally construe the universe of facts that the FTCA claimant provides” in an SF-95

bolsters the Court’s conclusion. Benally, 735 F. App’x at 485.

       The Complaint also contains the following discussion of the United States’ decision not to

transfer Suina:

              Ms. Suina had a prior history of c-section and placental abruption, which
       was known by Dr. Lynch. Dr. Lynch made a choice not to transfer Ms. Suina for
       the obvious required c-section of her premature 35-week old baby regardless of the
       lack of any neonatal intensive care unit at GIMC, or any qualified specialized
       neonatal staff to care for a premature baby.

        ....

               Ms. Suina should have been transferred to a higher level of care for
       immediate c-section given her history, signs and symptoms, and the obvious need
       for a neonatal intensive care unit for the impending delivery of a pre-mature baby


a heart rate above 160-180 beats per minute (bpm) and typically ranges between 170-220
bpm . . . .” Mostafa El-Fey & Yuranga Weerakkody, Fetal Tachycardia, Radiopaedia,
https://radiopaedia.org/articles/fetal-tachycardia?lang=us (last visited July 29, 2021).


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       of a mother with gestational diabetes which carries an additional risk to the baby of
       lung immaturity, on top of the expected lung immaturity of simply being
       prematurely born.

               It was a breach of the standard of care for Dr. Lynch and all other health
       care providers involved in the pre-birth care of Ms. Suina and baby Rose to fail to
       transfer them to a higher level of care, where a safe and appropriate immediate
       delivery care and a neonatal intensive care unit were available.

       ....

               Dr. Greenholz should know the level of care available at GIMC and should
       have transferred the baby to a higher level of care for neonatal intensive unit care
       and treatment if she was unable to provide the needed specialization to baby Rose,
       given her limitation as a general pediatrician. Dr. Greenholz’s failures were a
       breach of the standard of care which contributed to cause baby Rose’s wrongful
       death.

Complaint ¶¶ 3, 7-8, 12, at 2-4. The SF-95s contain many of these facts; for example, they note

that delivery occurred when Suina was “thirty-five weeks pregnant.”15 Tolbert SF-95 Attachment

at 3; Estate SF-95 Attachment at 3 (same). Moreover, the Plaintiffs clarify that there “is no ‘claim’

for failure to transfer . . . . The claim is for medical negligence and Defendant should be well

aware it is for both the pre-delivery and post-delivery period.” Response at 8. The FTCA does

not require a plaintiff’s complaint to mirror identically the SF-95. See 28 U.S.C. § 2675(a);

Staggs, 425 F.3d at 884. Further, the Plaintiffs provide notice of their medical negligence claim

in the SF-95s, see Tolbert SF-95 at 3; the Complaint’s statement regarding the transfer bolsters

their negligence claim and is not a standalone claim. As the Court noted at the hearing, the SF-

95s here are “about as detailed as any SF-95” that the Court has seen. Tr. at 6:23-25 (Court).

Forbidding the Plaintiffs from including information about a possible transfer would penalize



       15
         “Labour that starts before 37 weeks is considered premature. If [a] baby is born early, he
or she may need special care in [a] hospital.” You and Your Baby at 35 weeks pregnant, National
Health Service (July 17, 2018), https://www.nhs.uk/pregnancy/week-by-week/28-to-40-plus/35-
weeks/.


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improperly the Plaintiffs because they have “gone to the trouble of doing such a detailed

Complaint . . . .” Tr. at 6:15-20 (Court). Accordingly, the Court will consider the Complaint’s

discussion of the Defendants’ alleged “fail[ure] to transfer [Suina and baby R. Tolbert] to a higher

level of care, where a safe and appropriate immediate delivery care and a neonatal intensive care

were available.” Complaint ¶ 7, at 3.

       The United States relies upon Benally to support its assertion that THE “Plaintiffs’

administrative claims provided insufficient notice to the government of a brand-new claim alleged

in the complaint.” Motion at 11 (citing Benally, 735 F. App’x at 486). The facts here, however,

are distinguishable from those in Benally, an unpublished case. There, the SF-95 contained only

one reference to the post-operative period -- it mentioned her “‘surgery and . . . injury months

later . . . .’” 735 F. App’x at 486 (quoting the record). The SF-95 alleged that the surgery itself

was negligently performed, but “made no reference to post-operative care or Dr. Poe,” one of the

defendants, “much less suggested negligent conduct by Dr. Poe during that post-operative period.”

735 F. App’x at 486. The Tenth Circuit therefore held that the plaintiff’s SF-95 did not provide

sufficient notice that she “intended to challenge the post-operative care that she received --

specifically, from Dr. Poe.” 735 F. App’x at 486.

       This case is distinguishable from Benally because, as described above, unlike the plaintiff

in Benally, the Plaintiffs make detailed reference in their SF-95 to the pre-delivery period,

providing two paragraphs discussing the pre-delivery period, in contrast to the passing reference

to the post-operative period in the Benally SF-95. See Tolbert SF-95 Attachment at 3. The facts

in the SF-95, including (i) its indication that R. Tolbert was a premature baby; (ii) the length of

time it took from when Suina arrived at the hospital to when she received a caesarean section;

(iii) R. Tolbert’s elevated heart rate; and (iv) Suina’s complaints of abdominal pain and that she



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did not feel right, “suggested negligent conduct” in the preoperative period. Benally, 735 F. App’x

at 486. See Tolbert SF-95 Attachment at 3. Moreover, the Tenth Circuit’s ruling implies that it

was concerned that the post-operative period in Benally lasted for months and thereby would

impose a high burden on the agency to investigate. See 735 F. App’x at 487. Thus, without notice

that the claim encompassed the post-operative period, the agency was at a significant disadvantage,

because there was a months-long period it had not investigated. See 735 F. App’x at 487. Here,

by contrast the pre-delivery period was approximately seven hours, which does not impose the

same burden on the agency. See Tolbert SF-95 Attachment at 3. Consequently, the Benally

holding supports the Court’s ruling in this case, because the Plaintiffs here supplied the amount of

detail in their SF-95s that “explicitly . . . presented to the government . . . concerns related to”

R. Tolbert’s pre-“operative care,” and the agency easily could have investigated the pre-delivery

period, given that it lasted for only seven hours. Benally, 735 F. App’x at 487. See Tolbert SF-

95 Attachment at 3.

II.    THE COURT DISMISSES IN PART THE NEGLIGENT HIRING,
       CREDENTIALING, PRIVILEGING, TRAINING, AND SUPERVISION CLAIMS
       TO THE EXTENT THAT THESE CLAIMS FALL UNDER THE FTCA’S
       DISCRETIONARY FUNCTION EXCEPTION.

       The FTCA instructs:

               Any claim based upon an act or omission of an employee of the
       Government, exercising due care, in the execution of a statute or regulation,
       whether or not such statute or regulation be valid, or based upon the exercise or
       performance or the failure to exercise or perform a discretionary function or duty
       on the part of a federal agency or an employee of the Government, whether or not
       the discretion involved be abused.

28 U.S.C. § 2680(a).     The discretionary function exception “marks the boundary between

Congress’ willingness to impose tort liability upon the United States and its desire to protect certain

governmental activities from exposure to suit by private individuals.” United States v. Varig



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Airlines, 467 U.S. at 808. In Berkovitz, the Supreme Court enunciated a two-prong analysis for

determining when the FTCA’s discretionary function exception applies: First, “[i]n examining the

nature of the challenged conduct, a court must first consider whether the action is a matter of choice

for the acting employee.” Berkovitz, 486 U.S. at 536. Second, “assuming the challenged conduct

involves an element of judgment, a court must determine whether that judgment is of the kind that

the discretionary function exception was designed to shield.” Berkovitz, 486 U.S. at 536.

Specifically, the Court evaluates whether the challenged conduct implicates public policy

decisions that Congress sought to protect “from judicial second guessing.” Begay v. United States,

No. CIV 15-0358 JB/SCY, 2016 WL 6394925, at *30 (D.N.M. Sept. 30, 2016)

(Browning, J.)(“Begay”)(citing Berkovitz, 486 U.S. at 536). The Court will “presume that a

government agent’s discretionary actions are grounded in policy, and it is up to the challenger to

allege facts showing that the actions were actually not policy-oriented.” Hardscrabble Ranch,

L.L.C. v. United States, 840 F.3d 1216, 1222 (10th Cir. 2016).

       At the hearing, the Court stated that it would dismiss “the claims of negligent hiring,[16]

credentialing, privileging, training, and supervision[17] of the medical personnel,” because, “as a

general rule they fall into . . . categories that are subject to the discretionary function exception.”

Tr. at 71:2-7 (Court). See Begay, 2016 WL 6394925, at *31 (“Not all, most, or generic hiring and


       16
           The United States asks the Court to dismiss the Plaintiffs’ “claims of negligent
hiring . . . .” Motion at 1. The Plaintiffs do not raise a negligent hiring claim in the Complaint.
See Complaint ¶¶ 1-58, at 1-12. Yet, at the hearing, the Court asked the Plaintiffs whether their
“claims cover negligent hiring,” and the Plaintiffs agreed. Tr. at 36:11-14 (Court, Curtis).
       17
          The United States asks the Court to dismiss the Plaintiffs’ “claims of
negligent . . . supervision.” Motion at 1. The Plaintiffs do not raise a negligent supervision claim
in the Complaint. See Complaint ¶¶ 1-58, at 1-12. Yet, at the hearing, when the Court asked the
Plaintiffs whether their “claims cover negligent . . . supervision,” the Plaintiffs agreed. Tr. at
36:11-14 (Court, Curtis).


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credential decisions can be brought against the United States. As a rule, plaintiffs cannot generally

challenge hiring and credentialing decisions, because they are discretionary.” After evaluating

closely the Complaint and the briefing, the Court dismisses the negligent training claim, and

dismisses in part the negligent credentialing and privileging claims under the discretionary

function exception.

       First, regarding the negligent training claim, the Complaint alleges that the hospital’s

nursing staff

       were either not properly trained to manage the medical care of a premature baby,
       such as baby Rose that requires neonatal intensive care unit level care and/or were
       negligent in the care of pre-mature baby Rose. Additionally, given their failure in
       training and/or in the provision of medical care to baby Rose, they contributed to
       cause her wrongful death.

Complaint ¶ 13, at 4. In the Response, the Plaintiffs do not discuss in detail whether the

discretionary function exception applies to the negligent training claim, but focus instead on the

negligent hiring and credentialing claims. See Response at 9-16. “The Court and Courts of

Appeals have previously concluded that decisions about training are discretionary functions, as

the” relevant agency “must weigh the costs, time, and benefits of training.” De Baca v. United

States, 399 F. Supp. 3d 1052, 1223 (D.N.M. 2019)(Browning, J.)(citing Kelly v. United States,

241 F.3d 755, 763 (9th Cir. 2001); Redmon By & Through Redmon v. United States, 934 F.2d

1151, 1156 (10th Cir. 1991); and Garcia v. United States, 709 F. Supp. 2d 1133, 1151-52 (D.N.M.

2010)(Browning, J.)), aff’d sub nom. Ohlsen v. United States, 998 F.3d 1143 (10th Cir. 2021)).

       Applying the Berkovitz test, the Court concludes that the discretionary function exception

bars the Plaintiffs’ negligent training claim, because the manner in which a hospital trains its

medical staff to care for premature babies generally “appears to be a function that carries with it a

large measure of discretion,” Garcia v. United States, 709 F. Supp. 2d at 1151, and the Plaintiffs



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have not identified, nor has the Court discovered, any statutes or regulations to the contrary, see

Response at 9-16; Reply at 8-9 (“Plaintiffs have provided no language regarding training that

GIMC must provide to its medical staff.”). The Plaintiffs insist that the Defendants were “not

properly trained to manage the medical care of a premature baby.” Complaint ¶ 13, at 4. Chapter

13 of the I.H.M. contains some specific provisions regarding training for medical staff attending

to maternal and child health. See, e.g., I.H.M. 3-13.2 (“Each practitioner should have experienced

at least 30 supervised deliveries during training or on-the-job experience in order to have

independent obstetric privileges.”); I.H.M. 3-13.7 (requiring training for hospital staff “include[s]

identification of abuse/neglect; medical evaluation, and appropriate elements regarding medical

record entries and testimony relevant to the medicolegal aspects of” child abuse and neglect). By

contrast, regarding premature babies, the I.H.M. does not specify the required training for staff.

See I.H.M. Ch. 13. In general, a hospital’s training of its doctors and nurses “involves substantial

policy considerations.” Garcia v. United States, 709 F. Supp. 2d at 1152. Here, Gallup Medical

may have considered several factors, including cost, the training their existing staff had received

elsewhere, how regularly premature babies are born in the area the that hospital services, and how

regularly full term babies are born in the area which the hospital services, when deciding what

training regarding premature babies to provide its medical staff. Here, the discretionary function

exception applies to the negligent training claim, because there is no mandatory regulation and

because hospital training decisions are otherwise “a matter of choice for the acting employee” and

“involve[] an element of judgment . . . of the kind that the discretionary function exception was

designed to shield.” Berkovitz, 486 U.S. at 536. Consequently, the Court dismisses the Plaintiffs’

negligent training claim. See Tr. at 71:2-7 (Court). See also Complaint ¶ 13, at 4.

       Second, the Complaint details the following negligent credentialing and privileging claims:



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                Defendants Lynch, Greenholz, Leach, Rubaii, Alvarez-Colon, and Hamel
        were credentialed to be members of the Medical Staff of GIMC and granted
        privileges to perform specific medical conduct at GIMC on September 9 and 10,
        2017, which caused their involvement in the care and treatment of baby Rose and
        her mother Charlene Suina.

        ....

                Plaintiffs are prohibited from publicly accessing information on GIMC’s
        credentialing and privileging of the above physicians until after the filing of the
        lawsuit, and as such the only good faith basis Plaintiffs have to assert negligent
        credentialing and privileging of Defendant physicians is the gross negligence
        and/or reckless disregard for the safety of their patients shown by their conduct in
        treating baby Rose and her mother Charlene Suina.

Complaint ¶¶ 51-52, at 10.      Here, as in Begay, the Court holds that “the discretionary-function

exception does not apply to [Indian Health Services] [“]IHS[”] conduct hiring and

credentialing . . . under I.H.M. 3-1.4(C)(5).” Begay, 2016 WL 6394925, at *32. The I.H.M. states:

                Members of the medical staff and others who must apply for clinical
        privileges must hold an active and unrestricted State license, certification, or
        registration, as applicable, to practice in their professional field. The term
        “unrestricted” means that there are no restrictions, special considerations, periods
        of monitoring, or probationary requirements associated with license, certification,
        or registration that restricts or inhibits the ability of the practitioner to practice
        his/her profession in the specialty or clinical area for which the practitioner is being
        hired. This includes any stipulations that may have a potentially significant adverse
        impact on patients, the medical staff, or the efficiency of the facility.

                In general, providers with any restrictions on any State license, certification,
        or registration will not be granted medical staff membership or clinical
        privileges. However, exceptions may be granted on a case-by-case basis by the
        Area Director.

I.H.M. § 3-1.4(C)(5). Similarly, the I.H.M. provides that “all licensed practitioners who provide

care at IHS facilities must maintain current licensure and credentials, and be proficient of their

granted privileges . . . .”   I.H.M. 3-1.2(A).     These “mandatory . . . regulations” control the

privileging and credentialing of IHS doctors, because they require specifically that the IHS verify

that its doctors possess valid licenses. United States v. Gaubert, 499 U.S. 315, 328 (1991). When



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discussing the licensure issue, the Plaintiffs argue that they “must have some discovery to

determine whether a negligent hiring/credentialing and privileging case exists . . . .” Response at

15.    The Court agrees with the Plaintiffs, because “[t]he Court deems the discretionary-

function . . . exception[] [a] jurisdictional issue[] on which the Tenth Circuit would direct the Court

to permit discovery.”      De Baca v. United States, 403 F. Supp. 3d 1098, 1128 (D.N.M.

2019)(Browning, J.).

        Nonetheless, generally, “as a rule, plaintiffs cannot generally challenge . . . credentialing

decisions.” Begay, 2016 WL 6394925, at *31. This general rule applies to the Plaintiffs’ other

privileging and credentialing allegations. See Complaint ¶¶ 51-52, at 10; Response at 12-14. The

remaining statutes and regulations to which the Plaintiffs cite relating to these claims do not avoid

the discretionary-function exception, because they involve “the consideration of alternatives, the

weighing of factors, or the application of policy priorities bounded by practical concerns,” such

that “the language leaves to the decisionmaker’s discretion how best to fulfill” the regulations.

Clark v. United States, 695 F. App’x 378, 385-86 (10th Cir. 2017). See Response at 12-14

(collecting statutes and regulations). Accordingly, the Plaintiffs’ negligent credentialing and

privileging claims may proceed on a limited basis under the I.H.M.’s mandatory licensure

requirements, I.H.M. § 3-1.2(A) and I.H.M. § 3-1.4(C)(5). See also Response at 15 (arguing that

the “Plaintiffs have shown there are actually many specific regulations that mandate behavior for

credentialing of physicians”); Tr. at 71:2-7 (Court). All remaining privileging and licensing claims

are dismissed. See Complaint ¶¶ 51-52, at 10; Tr. at 71:2-7 (Court).

III.    THE PLAINTIFFS’ CLAIMS REGARDING THE EMERGENCY ROOM
        EQUIPMENT ARE DISMISSED, BECAUSE SELECTING EQUIPMENT IS
        DISCRETIONARY AND IMPLICATES PUBLIC POLICY DECISIONS.

        The United States argues that the Plaintiffs have not met “their burden to show that the



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discretionary function exception does not bar their claim that the . . . emergency room lacked

proper equipment,” and the Court agrees because, as a general rule, equipment selection falls under

the discretionary function exception to the FTCA’s waiver of sovereign immunity. Motion at 17.

See Complaint ¶ 29, at 7. The Plaintiffs respond that the United States “conflates the specific

factual problem identified in the Complaint -- the improperly equipped emergency room -- with

the Plaintiffs’ ‘Failure to Properly Operate the Hospital’ claim.”         Response at 16 (citing

Complaint ¶ 7, at 3)(emphasis in Response). The Complaint alleges that a “baby’s x-rays should

be viewable in any emergency room, and a physician leading the code and leaving the baby to

view an x-ray would be evidence of an improperly equipped emergency room which would be a

breach of the standard of care in properly operating” a hospital. Complaint ¶ 29, at 7.

       First, the Plaintiffs, do not identify, and the Court has not discovered, any “mandatory

statutes or regulations” controlling the United States’ conduct in equipping an emergency room.

United States v. Gaubert, 499 U.S. at 328. The Court concludes that, absent a mandatory

regulation, the selection of an emergency room’s equipment is “precisely the sort of policy-based

decision protected by the discretionary function exception.” Black Hills Aviation, Inc. v. United

States, 34 F.3d at 976. See Boyle v. United Techs. Corp., 487 U.S. 500, 511 (1988)(holding that

selecting military equipment’s design fell under the discretionary exception, because it involves

“the balancing of many technical, military, and even social considerations . . .”). The Tenth Circuit

has applied the discretionary function exception to equipment selection decisions only in the

military context. See, e.g., Black Hills Aviation, Inc. v. United States, 34 F.3d at 976; Creek

Nation Indian Hous. Auth. v. United States, 905 F.2d 312, 313 (10th Cir. 1990)(“The government’s

choice of design for the 2000 pound bombs clearly falls within the ‘selection of the appropriate

design for military equipment’ aspect of the discretionary function exception.”)(no citation for



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quotation). The Court concludes that the Tenth Circuit’s rationales regarding military equipment

apply here, because Gallup Medical’s decision regarding how to equip its emergency room

involves balancing policy considerations, including “what staff members might need the

equipment most frequently, how to facilitate access by other staff members with less frequent

needs, the need for the equipment to be available for consultations with specialists, and the desire

to keep emergency room traffic to a minimum.” Response at 18. See Thune v. United States, 872

F. Supp. 921, 924 (D. Wyo. 1995)(Brimmer, J.)(concluding that the discretionary function

exception applied where the government actor’s “decision . . . was based on many different factors

before him at that time”). Accordingly, the Court dismisses this claim under the discretionary

function exception, because the Plaintiffs “do not meet their burden of proving that Congress has

waived sovereign immunity for” the emergency room equipment issue, “as the Tenth Circuit

requires for the requested relief.” Begay, 2016 WL 6394925, at *31. See Response at 16.

IV.    THE COURT DISMISSES THE PLAINTIFFS’ REQUEST FOR PUNITIVE
       DAMAGES AND PREJUDGMENT INTEREST, BECAUSE THE FTCA FORBIDS
       PUNITIVE DAMAGES AND PREJUDGMENT INTEREST.

       The Plaintiffs insist that the United States “should be subject to punitive damages for its

utter indifference in properly staffing and managing the Indian Health Service Hospitals, including

Gallup Indian Medical Center which contributed to cause the wrongful death of baby Rose Sky

Tolbert.” Complaint ¶ 53, at 10. The Court disagrees WITH THE Plaintiffs’ assertion, because

the FTCA prohibits the Court from subjecting the United States to punitive damages. See

28 U.S.C. § 2674. The FTCA states, in pertinent part, that the “United States shall be liable,

respecting the provisions of this title relating to tort claims, in the same manner and to the same

extent as a private individual under like circumstances, but shall not be liable for interest prior to

judgment or for punitive damages.” 28 U.S.C. § 2674. See Molzof v. United States, 502 U.S.



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301, 312 (1992)(holding that § “2674 bars the recovery only of what are legally considered

‘punitive damages’ under traditional common-law principles”)(emphasis in original)(no citation

for   quotation);    Beller   v.   United   States,   296    F. Supp.   2d   1277,   1279    (D.N.M.

2003)(Johnson, J.)(explaining that “the Government’s liability is subject to the limitation that it is

not liable for punitive damages”). In the FTCA, Congress provides a limited sovereign immunity

waiver:

          The basic rule of federal sovereign immunity is that the United States cannot be
          sued at all without the consent of Congress. A necessary corollary of this rule is
          that when Congress attaches conditions to legislation waiving the sovereign
          immunity of the United States, those conditions must be strictly observed, and
          exceptions thereto are not to be lightly implied.

Block v. N. Dakota ex rel. Bd. of Univ. & Sch. Lands, 461 U.S. 273, 287 (1983). Accordingly, at

the hearing, the Court explained that it would hold the FTCA’s prohibition on prejudgment interest

and punitive damages “to be constitutional . . . . I think Congress gets to make those decisions. I

don’t think the Constitution has a whole lot to say about that issue.” Tr. at 71:9-11 (Court).

Because the FTCA expressly prohibits claims for punitive damages and prejudgment interest, the

Court lacks subject matter jurisdiction over those claims.

          Moreover, although the Plaintiffs argue that 28 U.S.C. § 2674 “is an unconstitutional

limitation on the United States’ liability,” they devote just two sentences of their seventeen-page

brief to this argument, with which, if the Court agreed, would have far-ranging consequences. See

Response at 17. The Plaintiffs neither cite which constitutional provision 28 U.S.C. § 2674

allegedly violates, nor provide any supporting case law. See Response at 17. Punitive damages

have their critics and, if anything, the Constitution restrains punitive damages rather than

protecting punitive damages. See Pacific Mutual Life Insurance Co. v. Haslip, 499 U.S. at 18-19;

BMW of N. Am., Inc. v. Gore, 517 U.S. at 585-86; Cont’l Trend Res., Inc. v. OXY USA, Inc.,



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101 F.3d at 643. Punitive damages -- which are to punish and send a message to society -- play a

different role than compensatory damages, which are to make a person whole. See TXO Prod.

Corp. v. Alliance Res. Corp., 509 U.S. at 446. Because society can punish in different ways other

than giving a plaintiff a windfall, it is hard to make an argument that Congress and society cannot

choose the punishment to use.       Consequently, the Court dismisses the Plaintiffs’ claims for

punitive damages and prejudgment interest. See Complaint ¶ 53, at 10; id. at 12 (no paragraph

numbering)(requesting “pre- and post-judgment interest”).

       IT IS ORDERED that: (i) Defendant United States’ Partial Motion to Dismiss for Lack

of Subject Matter Jurisdiction, filed August 18, 2020 (Doc. 50), is granted in part and denied in

part; (ii) the allegations regarding the Defendant United States of America’s failure to transfer are

not dismissed, see Complaint ¶¶ 3, 7-8, 12, at 2-4; (iii) the negligent training claim is dismissed,

see Complaint ¶ 13, at 4; (iv) the negligent credentialing and privileging claims are dismissed in

part, see Complaint ¶ 52, at 10, and are limited to alleged violations of I.H.M. § 3-1.2(A) and

I.H.M. § 3-1.4(C)(5); (v) the emergency-room-equipment claim is dismissed, see Complaint ¶ 29,

at 7; and (vi) the Plaintiffs’ request for punitive damages and prejudgment interest is dismissed,

see Complaint at 12 (no paragraph numbering); id. ¶ 53, at 10.




                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE

Counsel:

Lisa K. Curtis
Julia Gabrielle Coulloudon
Laura Callanan
Curtis & Co. Law Firm
Albuquerque, New Mexico



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-- and --

Brandon W. Vigil
Law Office of Brandon W. Vigil
Albuquerque, New Mexico

        Attorneys for the Plaintiffs

Fred Federici
  Acting United States Attorney
Elizabeth M. Martinez
Kimberly N. Bell
Christine Hyojin Lyman
  Assistant United States Attorneys
United States Attorney’s Office
Albuquerque, New Mexico

        Attorneys for the Defendant United States of America




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